Case 2:90-cv-00520-KJM-SCR Document 2725-3 Filed 03/14/08 Page 1 of 55

EXHIBIT 3 —
Case 2:90-cv-00520-KJM-SCR Document 2725-3 Filed 03/14/08 Page 2 of 55

PHARMACY MANAGEMENT CONSULTING
SERVICES

Monthly Summary Report
To The
California Prison Health Care
Receivership Corporation

September 2007
Case 2:90-cv-00520-KJM-SCR Document 2725-3 Filed 03/14/08 Page 3 of 55

PHARMACY MANAGEMENT CONSULTING SERVICES

Monthly Summary Report
September 2007

Summary of Activities for September

Key happenings for the month of September included activities related to hiring, P&T
functions, staff training, GuardianRx” implementation and pharmaceutical contracting.
Three important positions have been filled this month as a result of diligent recruitment
efforts. A technologist for the Drop- In team and two clinical pharmacy specialists have
joined the Maxor/CPR team (see appendix C). GuardianRx® has now been fully
implemented at two sites, Folsom and Mule Creek State Prisons, and pre-implementation
planning has begun for California Men’s Colony. Clinical initiatives for the month of
September included the approval of an HIV disease medication management guideline
and the selection of a preferred formulary inhaled corticosteroid. The transition period
for full implementation to the revised CDCR Formulary was completed September 30,
2007. Staff training continues to be an important Maxor initiative as the pharmacy
newsletter is published monthly, a new hyperlipidemia module has been added to MC
Strategies, and Maxor representatives participated in presenting approved Pharmacy &
Therapeutic Committee initiatives at a recent statewide policy training conference. A
request for proposal (RFP) for a pharmaceutical wholesaler has been released in attempts
to seek out the. best available purchasing options for the CDCR. Cost savings for the
month of September are estimated at $266,987 as a result of working with the wholesaler
and pharmacists-in-charge to improve purchasing. In addition, $79,775 has been
recovered to date through utilization of the new returned goods contract.

Summary of Changes to Timeline

In the sections below, a listing of objectives completed, objectives delayed, objective
timelines proposed for change (subject to review and approval of CPR) and a listing of
timeline changes that have been approved by the CPR are provided.

Objectives Completed

e Objective A.l. A central pharmacy services administration, budget and
enforcement authority was established on January 23, 2007.
e Objective A.2. Direct lines of authority were established to all pharmacy
services personnel and linkages to central medical staff were defined.
e Objective B.1. A revised and reconstituted Pharmacy & Therapeutics Committee
was established. Meetings are held the second Tuesday of each month. Current
- membership includes representation from central, regional and institutional level
providers, as well as experts representing Coleman and Perez issues.

September 2007 Monthly Report

Case 2:90-cv-00520-KJM-SCR Document 2725-3 Filed 03/14/08 Page 4 of 55

* Objective B.4: Develop and implement an effective and enforceable institution
audit process.

* Objective C.1: Monitor wholesaler (vendor) to ensure contract compliance.

¢ Objective D.3: Develop an effective means of documenting and tracking
employee training, education, performance, and disciplinary action.

Objectives Delayed

e¢ All objectives except for F.2 (connectivity), C.5 (340B pricing) and Al.1 (hiring
clinical specialists) are progressing according to schedule. Guardian
implementation will be delayed in the Initiative tracking grid.

Objective Timelines Proposed for Change

e Objective A.3: Update and maintain system-wide pharmacy policies and
procedures. We request changing the timeline for this objective from completion
at month 9 to completion at month12 of the project.

¢ Objective D.1: Hire and train new employees as needed to replace registry
personnel. This objective was scheduled for completion in December 2007. We
request changing the timeline to an ongoing activity throughout the term of the
contract with no completion date. Hiring and training personnel is a recurrent
task which will require ongoing consideration as staffing patterns are analyzed
and pre-centralization and centralization models are implemented.

e Objective F.3: Procure a state-of-the-art pharmacy dispensing system in
coordination with the Office of the Receiver. . This timeline is no longer accurate
and should be redefined by the CPR - CIO since an interim pharmacy information
management system (GuardianRx®) has been accepted,

© Objective F.4: Transition each institution to a uniform pharmacy information
management system. Originally this was to begin in month 16 and be completed
by month 21. In keeping with the changes to F.3, the goal will be to implement
the interim uniform pharmacy information system state-wide by month 15 if
connectivity is established,

e Objective F.6: Integrate pharmacy information management system with auxiliary
technologies such as central supply management, physician order entry, electronic
MAR, and barcode checking. No timeline was originally proposed for this
objective. The process can not begin until the pharmacy information management
system is functional state-wide and the extended network is created by CPR-IT,
The completed pharmacy system is expected to interface with the DDPS (offender
information system) and other proposed medical information systems currently in
development. As with objectives F.3, the timeline for this objective will be
determined by CPR-CIO.

e A full comparison of the current timeline and recommended changes with
explanation will be submitted to the CPR for review and discussion in October.

September 2007 Monthly Report

Case 2:90-cv-00520-KJM-SCR Document 2725-3 Filed 03/14/08 Page 5 of55

Objective Timeline Change Approvals

¢ Objective C.2.1 — Completion of a system-wide baseline inventory in the first
quarter, The baseline inventory included only controlled substances. A full
inventory will be conducted at each facility as the pharmacy operating system
(Guardian RX) is implemented. Each facility pharmacy will also inventoried by
the wholesaler as part of the wholesaler contract requirement. Maxor completed a
complete inventory of narcotics as part of the baseline surveys.

¢ Objective F.2 — Establish basic connectivity in all pharmacies in the first quarter.
A timeline extension of an additional 90 days has been approved.

Issues or Obstacles to Success

Two issues currently have the potential to adversely affect the project and Maxor’s ability
to achieve the goals and objectives of the Roadmap in a timely and efficient manner,
GuardianRx® implementation and continued difficulties with contracting, Efforts to
assist the CDCR in obtaining direct contracts with P&T approved drug manufacturers has
been challenging. Maxor remains committed to helping the CDCR achieve the best
available purchasing options by continually engaging CDCR contracting regarding
identified obstacles to progress.

A modified implementation plan has been approved by the Office of the Receiver to
allow for the rapid deployment of GuardianRx® to CDCR facilities. This rapid
‘deployment plan will allow for the timely provision of much needed data for reporting
and monitoring purposes. Without such data, Maxor is incapable of providing essential
tools to facilitate clinical, operational and fiscal management of pharmacy operations. A
modified staffing model to accommodate more Guardian teams and drop-in support was
approved to help expedite Guardian implementation and support immediate and critical
operational support needs as identified in the COCR pharmacies.

Ongoing implementation of new procedures, operational changes and quality
improvement activities has been slower than anticipated due to deficits in facility level
management experience/skill and infrastructure problems greater than originally
identified. The result is that more direct, hands-on support is required by Maxor staff to
support and facilitate process change and mentor staff.

September 2007 Monthly Report

Case 2:90-cv-00520-KJM-SCR Document 2725-3 | Filed 03/14/08 Page 6 of 55

Monthly Attachments

The section below contains links to the Pharmacy Dashboard, Pharmacy Inspection Grid,
and other important tracking grids and attachments provided for review.

Appendix A - Pharmacy Dashboard

al
“TBE

Pharmacy Dashboard

Appendix B - Pharmacy Inspection Grid

:_ans

Pharmacy Inspection
Grid

Appendix C - Clinical Pharmacy Practice Specialists Curriculum Vitae

as ali

Tom Schilling PharmD KhiemT, Nguyen
PharmD

September 2007 Monthly Report Kune 5
Pyatty. ees
Page 7 of 55

Filed 03/14/08

‘Case 2:90-cv-00520-KJM-SCR Document 2725-3

Sir Lees EG er 62° sp
6b 26 95°66 Le06 89°68
Loser LLB9E SE ele 26°SbP
S6'ELE os'ZeL Gf LZb iS3'Srb
e298 L3°Sol Pres 26'¢2
SL°LOE 6S°SEL Ag LEL 69°95)
L641 OE EE Leet 80 rb
6r LOL PEOL 69 601 20°76
Lb es L6&bLs oes eegs
bev car esr Obs
OLLL SE°Sk cece OLSL
60°SP cr er BZ Le OPE
SPL €5°96 S96 oe'26 ef 201 +] Sb26 ores [ore 96°96
*02 SL OR Bo'OEL OSPol . [90121 0606 e2's6 [gcse 69°39
Yl- ZS SOr 6P SOL beS8 AB Cel ce QOL {Oo FEL 99°82) iL 6PL
Whe PSHE 88° ZrL Sz Lee Libel EFbZL 127 6FL oos6 99°S0L
OL ee le eo col Le coL OS°L6 oP'26 LLSOL co'66 So ZL
wel OG Pe be°96 26° L8L PS"OeL PSELL jesle cee Sso°L01
SL 26°22 bege LB LE Brac sole L082 60'92 So'9¢
PS 6S FS or re Og 52 Sh S38 soe es 08 B9Si e086
54 92° 082 eS 022 6208; Lee BLE6L. (99 Sez Lo PEL 22 58)
45 PL Ser 6S°SEL es zal EP Ssh {9o°6L L |S6°€21L SS'Oe1 eS b
5 ED OLE 2S°66 SL Pal OS Ssh 96°06 e626 PS'6L go Pel
4 gc 66 6L£20L 268k So es SLOLL Pes 2628 SLCLE
Ek 6°28 Ofe6 6r 6S es ag BL O6 Corl Zeor OL's9
wep ep Zee os'Prl SPesh Se's.b Pe'SSl [POET Be Zh) So Leb
“PL 6L° 28 45 %¢L Be ol e6cL S6'Sl es'sl eee ee bd:
wee of cP cole be +e O38 PG eer iese eLee 1 Or
BLE LP'eL Gore Zo il 1602 Of 6L 2S°SL Serle Sele
we eo Ss 9a°Ss ec’or ofr Seer OF Or eb 9c oer
Pre PE Ss eb ss OS FS Siler GELS SP PS [Lg"es Pos
SOLE {PER og ez POs iJ d0L 09°66 ao lek sees 2566
Arr Sb°Be bese pile zest Sere 8S°S- sz 2 cere
23 ee OF 9)'15 gale SPSS so Or PL Le oP SP Stor
%SL e095 ess9 eges se'59 [Lorss eL's9 22LE +62
Yol- 2e°S4E 62 Ebb SZ ELL BL 90h e526 {B'S PG PS ZL 60L
2b LFESS LS Ale soogr [oP ess QL 20S |9orOS 95° 205 Se cer
oALL FE G6SL Le col 6O'6PL SP pee SE°GP. = j&2 Zeb Se 6Et Sa ESL
8 Si pr 26'ESb 65921 LS'SLb Zi'GZL =| 8S°S¥L Zo Sbe 26 OFL
wh el ere es 6S | ee eel 98'rSb 62°65) | fP' 251 Se sre eg lez
%ES So le L5°5¢ dese PG 62 69 Se es'he ee 0e be'6L
hb LE Loe iS ZS PESEZ [60°'607 e646. |LeSe2 zZ6 O24 20 bee
Eb aces 6L09 01'S9 BS bl 20 6P eres ez og LLP
%08 Pe'OL Se cb O86 Se 2b eZhh EPOL See be'oL
“ES OB le LS t! eo te oP Le LBS eo Le es ee er 92
WELZ PE ES oS°SS es es Le Le ge25 SsoLe 225 SL Gr
(SiAre) |
HPC |) snes | “844 | 9-03 | 2o-00n | 20390 | 20-dos | 20-6ny | z0-In¢ | 20 I. .
o-ung | zo-Aew | zo-~dy | 2o-2ew | 20-424 | zo-uer
weed | eudovs [4 SOA

Sonos ener

jeny9

19UBD VORRMIGEUY BD - DUD

UBIONOD ‘SUSU SEIS FO - HOO
Ayioey [PsIpa) BD - WO

AugjoD s,uaW 29 - 39

UBWOAA JO) aynyySu] UO} - AID
UsIAl JO ayrensu] BD - WI

USSU S}EIS ESUHUSD - NAD
AIRY S,UaWOAA BD [EQUED - JAMDO
SINS] LOD ED - 19D

sajuad od 83-355

UOSid SEIS BLyedIED - TWO

- dSv’

Sidiid 1805 J+5N eBeuaay yO
UOSUd S}E}S CASBAA - TSA
USwloAf, JOF LOSLIg SFEYS ASIEA - MSA
USSU SEIS AB|EA BUIES - dSAS
UWWeAD URS - OS
QUPIOS ‘UCSL AES BD - 10S
JBJUST) UOFEAISSUOD BLSIS - 398
JL asndy sourjsqns Bwosed - divs
OWUELUEDRS ‘OSL SEIS PILIOUIIED - OS
Apel uog ueacuog rH - OH
UOSL, aE}S ABTEA JUESESI|d - dSAd
wos ayeq§ Aeg UbsIIed - dSdd
OSL SEIS WS LON - SSN
LOS BIS A929 BIN - dSOW
WI UoSUd BEIS ED - OW]
Wosld ayers AaifeA Wey - ISAM
UOSUe BIS POOMUCL| - dSi
uosi, BJE}S 4383q YBIH - dSGH
wosjoJ - 103
SyNyASuU] EUOReSOA [ansq - IAC
HOSU S44 ABA PIEMEXONYD - ISAD
Aupoey Bued | wo09 - 419
JajuUaD UOREYIIGeYaY BD - YD
UBIONOT ‘SUOSUd S}ES BD - YOO
Ajo |BIpa BO - JID,
AUO(O4 SUSI] 29 = SIND
HOLWOAA JO) S]NHSU] OF - AAID

ual) 10} BINSUl BD - WIS
UOSUd SHES PIBUBUED - NAD

ANIPES suationy BS 1eq0eD - IMIO
AMHSUT HOD BD - 199)

Jau89 09 BO - 999

UOSU SEIS EMETIED - VO
LOS SAS EUSA - dSi¥.

3 SUOILYAG aInseay Snseoyy

ulew - preoquseq Aseueyd
Page 8 of 55

Filed 03/14/08

Case 2:90-cv-00520-KJM-SCR Document 2725-3

q CWUSWENES “LOS SEIS PUGH — OVS

Ayiges Uo9 UBAOUOG -xY - OPH

Losi A725 ASWEA jueseald - dSAd

uosud ais Aeg UESHSd - dSad

UOSLd S235 West GUON - dSN

Uostd S}21S A839 BINA - dSOW

WT uosug a1ejg 2D - Ov7

UOSL| BRIG ASeA WEY - dSAM

UCSU BJE}S POOMUD] - JS]
uoOsUg 37835 paseq YBIH - dSqGH

wosjo3 - 1034

BINRSU] JEUOHESOA jane - |AG

HOS 8121S ABIIBA BIPMEYSNYD = dSAD

Ayoes Guwies 05 = 315

JaeD UONMUINGeUSY ED - Dao

UEsOIOD ‘SUOSL S}23S BD - HOD

AMOR [ZIpsyy BD - SIND
AUGIOD SUSI BD - SIND
UBWUOAA JO) aINASU] UOD ~ AAID

Us|] JOL SYNIHSUE ED = AND

UOSid AES BlauRUAaD - NID

AUR SUALWOAA BD [EUS - JMAD9

ayNyAsy] OD BD - 19D

JQIUBD HOD FD - 399

UOsUd ayB}g eWQedieD - TO

UOSLid AJEIS OOSEAA - ASAA

U@WWOAA JO) UOSU S}EIS AQIBA - ASA

LOS OFS ASIIEA ELITES - SAS

URVAND UES - OS

OUBIOS ‘UosUd S}e1S FD - 10S

J9JUS} UOQEAISSUOD BUISIG - 99S

aL esha SouBysqns eILUOUPED - ILS

OUURLUBIORS “LOS SJEIS BILIOUIED - OWS

Ayes 09 uesoueg PHY - Ore

Los 2}8)5 AdIEA JUBSB ald - dSAd

ucsU S]EIg ABQ Vesed - dSad

UOSUd S}215 WS} YON - dSHN

UOSUd HES Heal} BINA - dSOW

VW] uosud ae15 8D -3V1

USHA BES ASIEA Wey - ISA

UCSUd SJE}S POOMUOL - JS]

uosud aS yeseq UBIH - dSdH

WosjoJ - 10d

BMQSU! [EUONEDOA [eN|G - IAC

UOSUd S}E}S ABIEA PIEMEYONYD - dSAD

z ure!
ee 62 60°08 ao's¢ Ze Se
LL 82 AVEZ 02 62 2p Le
boc PELE ao rr be’ bs
L3'6 90°22 e2°Ze PELE
LezL S621 co's ee6
S6'Or coor es be eser
ech ZB el eoeL 2 2b
2e'bb esol SELL 22°02
266 os'zt Pod 61
roel {82 66'SE Post
So ze es sh ex og sade
So bi SP'S2 BE B2'S2
Bl6 S6s Geek 03°6
Sob E zozb 86FL S8'St
OF bE eg'2b OP'S coor
SSL ee'6L $3'e2 SO Lb
06S) SP'aal PLELE 92° Lz}
PLS Se PE BI Le £1 9E
Sole LP'oP o'er cose
Pe Se £3°2e f6'G¢ Le'se
Sb°6 Bibb A0Zk 6r'S)
eh'66 EOeLh B22 FES Ele
£i8 or's 25°44 soar
09'S ord 06's LP
Slob 90°83 se Lb Le Le
L6'OL fl rk er LL 6L€L

OO bL 2°59 Poe
oz's¢ eS re SF Ls be LOL
ce'eL ass Ze BE LS$s
L0°S0b AL BOL 88 LOL Sb SOL
er 6S e238 Sect Pool
ores ee 69°86 £6'S8
8S"SE BO RZ OL ES 9102
62°65 26°25 PEES Bb6s
06° Loe $9°68L 1E7USE | LO'68L
bO86 rO'C6 ee aL 66614
40°89 PRLS 6.65 ce +e
L638 108 Pool Or'LS
H6°69 BELL 22°03 6902
$2 Leb 90°50) zeOel [Pose
LETL Leis LOLS S1°Sg
2a'le SLE Gece SE FE
6LL Oe LL prs PSS
ee'oe BL Sf ge'L2 ee ze
L0°or PIE - [6 ES Zag
bee LP2ot 909 eget
26°21 979) soe} eSB
os 62 GP'ee bP Le Ber

(D/ARI}
Beg Z0A4

snjeqs 20-99 | Z0°A9N | 20°90 | 20-des | 29-Gny | zo-ainr | Zo-une | zo-Aew | zody | 2o-seW | 20-494
Weed qyBydosg [54 9044

HONSILYSUOS Japuf] - SUA

Ayes Buyer yue5 - 415

SuOgIUysq aNnseay @INSPOW

UIRW - pleoquseg Aseuueyd

Page 9 of 55

Filed 03/14/08

Case 2:90-cv-00520-KJM-SCR Document 2725-3

£ UIE
'
]zo'se srpe = lrksz = [Larez
ab°Sh gost = |e St LSE
br'0e pole [46 or [eg ee
Bole osse = [sase zeae
2a2e rel = ferge = jba92
alee exec | |erse [ES b>
6e'P ep L oeL Sze
ace eege fore  jecie
eed (1A Ra) 2£0A4
wereg SEIS isa 904g 20-98] | ZO-AON | 20920 | Zo-dag | zo-Bny | 2o-Inr | Zo-unr | 2o-Aew | Zo~dy | 20-JeW | 20-Ged | Zo-uer
* By doys |

UOSL SJEIS COSEAA - dSAA
UBLUOAA 10} UOSLIG B}2IS ABBA - MSA

UOSL 3}H1S ATIEA Bulles - ISAS
UAUaNt) UES - OS
OUR/OS “UOSU SEIS BD - 10S

JBUS YOPRAISSUCD BUSIS - 99S

al asngy eourysqng EIWOHIED - J1WS

SUOTUISG aINseay ainseay

ule, - preoqyseg Aoewueyg
Filed 03/14/08

Case 2:90-cv-00520-KJM-SCR Document 2725-3

Page 10 of 55

F HEY

Lg es gs os ig gs

39 £9 Fa £9 r9 #9 bo ro

6s Vol £6 Zob o'6 ele SOL SOL

gS RL fe oe 92 gi pt gL

cL wd g9 gL ot os 293 eed

es e's a2 £6 se 26 o8 76

or os a7 ar ar ar oP or

£9 £6 o6 a6 £6 o6 26 c6
gs

6c

ve

UCHSASUCS JIPUN - SAA

ce ge es ge Ze ze
RCE! 6b ¥S a'r Ly 6¢ oP
| ob eb eb rh Pl gL PL ob
SVE o's e's s"9 1'9 B'S os oS
LS £s eS 25 ze e9 26 s'9
oF 96 Zs aS ¥'S 9S ay 9s
Sz L's sz ce Sz oe oz fe
Eros Le g€ ge ce ce ve ge
es 6S e¢ | 69 £9 29 g's 9
6P es rs £6 6P es BP zs
eZ £e re oc VE Ze ge re
FL £b 9'| ZL ore st +L sb
eZ oF 2c 12 gz 22 ze SZ
ee 2 ez sé SF ZP Ze FZ
es. es ay oP ev Ze OF SP
RESO arb £1 a1 ob Zk tL sb
PE OF gs Z¢ Ze ge ez LZ
sé Ve oe ve sé ee
oP Be Ze ov Le Vt e's g's
wd z3 gi €8 eL Vs zs 92
ae er or oP zr €P rs ep
Vg 25 ¥S L's as aS Zr 9S
FP ¥S 2g 9 es 6s eS Z'¢
BL ze lz Ze ve az aL
gL 23 OL 8 ot Ve ge. og
gz 6z gz o's az gz rz 92
o'} LL Zh ei 1 Zh OL Vk
Zh 6 gL oe oz ° °
LZ cE . ° °
eq SiMe
snes Z0-AON | 20 20-02 Zo-uer
preyed yuBydoys SA 90A4

Javad UoHeyIqeyey 25 - UD
UBI0D0D ‘SUOSUd SJE}S EO - HOO
AIDES [EOIPayy BD - JWOD

AUQIOF $,U3[A] BD - DID

UBLUOAA JO} BINIRSU| LOD - AAID

Ua] JO) ayNgSU] BD - NID

UCSied SJEIS BOURUED - NAD

AIPOBY S,UBWIOAA BD [2UBD - AMID
aNYASU] MOD BD - 199
Jaquay 109 BD - 999
uosid aye1g BLyedieD - TWD
uoslid a}eg [EUaAy - dS

Wide # XH JeIOL abelaay yodS
i UOSUd SJEIG COSEAA - ASMA
UBLUGAA 30) UOSHd SFEPS ABIEA - AADSA

LOS BFE}S AB|PEA BUIES - ISAS
ujuant UES - OS

Oue|OS “USS SEIS BO - 105

Ja]U84 UOFPAIBSUOD BAIS - 99S

dL asnqy eourjsqns eiwoslres - 41S

J cyuawemes ‘uosuy aS BIOMED - DYS

Ayes 0D UBACUOG Py - Ory
Uosug eFe1g ABI A WeSeSId - ISAd
uoslid ays Aeg ueoled - dSdad
UOStid S}EIS Way YON - ISHN

UOSl Id SIS ASS SINIA - SOW

V1 UOsWd SIRS 29-3]

uosud ayeis AayeA Wey - SSAY
UOSIg.3}2}F POOMUCL] - dS]

HOSUd S72 Waseq YBIH - gSCH
wosiod - 104

eNgsu [PUORESOA jeneq - IAC
UOSiel SEIS ABIEA BIEMEYONYD - dSAD
Auge BUIUIEEL LOS = 319

JaWUSD UOREWIGEUSY ED - OHO
UZIONOS ‘SUOSL BIPIS B59 - HOD
Aloe s (EIA) BD - FWD

AUQ[OD SUSI] ED - SIND

USWO/A JO} @INIRSU] LOD - AAID

af] JO) BINIGSU] BD - ID

UdSI SILIS BISURUSS - NID

AYPOBY S,UALIOAA BD [BQUED - SANDS
BINYSU] LOD BD - 199

JaUuaS UOD BD - 995

__UOSU SIRS BUEMIES - WO
HOS BIPIG [EUSA - dS

eee er rae eC ERE ay

SuOHIUyeg ansesiy aunsesiql

uIeI.- preoquseg Aoeuueyd
Page 11 of 55

Filed 03/14/08

Case 2:90-cv-00520-KJM-SCR Document 2725-3

$ uIEW

Byep ou | Byepou | eepou | ewpou| wepou | eyep ou] Beep ou | eyep ou
Bjep ou | eyep ou | ejepou | eepou! wepou |eep ou] eep au | eyep ou | eyep ou
Bjep ou | wepou | Byepou | eyepou! eepou | eyepou | ep ou | ep ou | yep ov
Beep ou f ejepou | eepou | eepou] eepou | ejep ou | eyep ou | eyep ou | eyep ou
Beep ou | Bepou | wepou | eepou| eepou [eyep ou] Beep ou | eyep ou | eyep ou
gep ou | eepou | eyepau /eyepou| eepou [ep ou] eep ou | eyep ou
wep ou | eepou | ejepau | eyepou| eepou |eyep ou | yep ou | ep ou | eyep ou
Byep ou | eyepou | eyepou | eepou |] eyepou |eyep cu | eyep au | eyep cu | eyep ou
eyep ou | eEyepou | eyepou | eyepou|] eepou |eyep ou! eyep ou | eyep cu | eyep ou
Byep ou | eyepou | Bepou | eyepou| eyepou |} eyep ou} eyep au | eyep ou | Hep ou B
Byep ou | Bepou | eepou | eepou | eepou | eyep ou | eyep ou | Byep ou | eyep ou
Byep ou | Byepou | eepou | eyepou|] eepou feyep ou} yep ou | eyep ou | eyep ou
Byep ou | Byepou | eepou | eyepou| eyepou | eyep ou! eep ou | eyep ou | eyep ou ff
wep ou | Byep ou | erepou | gepou | eepou feyep ou | eyep ou | yep ou | eyep ou
Bepou | eepou | pepou | mepou |] eepou feyep cu | eyep ou | eyep ou | eyep ou
wep ou | Byepou | yepou | eywpou |] eepou | eyep ou] sep ou | eyep ou | eyep ou
Byep ou | Byepou | yepou | eyepou| eyepou | eyep ou] yep ou] eyep ou | eyep ou
wep ou | Byepou | elepou | gepou| eepou | eyep ou | eyep ou | eep ou | ep ou
Brep ou | eyepou | yepou | eyepou|] eepou | eyep ou] Byep ou | Byep ou | eyep ou
wep ou | Bepou | yepou | eypou|] eepou | eyep ou | wep ou | eyep ou | eyep ou
Byep ou | eyepou | eyepou | eepou!] eepou | eyep ou | gep ou | eep ou
eyep ou | eyepou | qepou |eyepou{, eyepou | eyep ou! eep ou | eyep ou | een ou § JBUWID MOD BD - 999
Byep ou | Bepou | eepou | eepou |] eepou | eep ou | eyep ou | yep ou | eyep ou uosu, aye}g BuyedI|ED - TWO
ByYEp ou ; F ; ; Uosid aje}g [Bua - dSiv¥

Uosud Seis AaieA JUeSEid - SSAd
YOsUd a7S Aeg UESIISd - dSdd
UOSHd BES WSy UVON - dSMN
UOSUd SJEIS 4988/5 ANI - dSOW
V1 uosud ayeS BO - OWI

UosH S}e}S ASPEA Way - dSAY
UOSId SEAS POOMU - JS!
uosud 87235 Hesaq YBSIH - dSGH
WOS|O4 - 104

SINGS] FEUCREDOA janeq - |Ad
UosUd S185 ABEA EEMEYONYD - dSAD
Aqses Bue L609 - 315

JOSH VOPPIEUAH BO - OND
HeEIODIOD “‘suosud SEIS FO- HOS
Aypoes (E.1peyy ED - JING

Auojos s,Uaf] 2O - SIND

USUWOAA JO) SYYRSU] LOD = AAIS

Ua{A 10) BINIFSU] BD - ID

UOSL 8181S BSUAUAD - NAD

AG! S,UBLOAA BD JENUSD - BADD
ANYISU] MOD BD - 199

UOSUd SIS GOSEAA - dS
UBWOAA JO} WSL B}E4S ABIIEA - MdSA
LOSU 87835 AS|EA BUIES - dSAS
uQWaANny UES - OS

OUE|Og ‘Usui aS 2D - 10S

JBUID VSHRAISSUOD Bats - 595

dL asnqy aoueysqng Biwopfes - ays
OIUSWEDES “OSU SJE}S BHLUAIIED - OVS
Aypoey od ueaoucg Ty - Grd

UOsld aeIg AalleA weseald - ISAd
uoslid ayes Aeg ueolied - dSad

eee S'S £5 os as gg Ss es

ie UOSUd SEIS US} UWON - dS>N
wd s8 $3 36 ¥'6 26 os Fé UOSU SEIS YEA AINW - dSOW
99 gd aL eZ oz fz 69 OL ¥]UOsud SJ FD - OV1
or rs L's 2g asc o'9 vs o's OSU aE}S ABIIEA Way - ISAY
ge dP FF oF ¥¥ FY cr er LOS SAS POOMUOL - dl
os o'9 g's ss es ss os FS Uosud a2} Waseq YBIH - dSGH
gr oF L°s 2s os eS wos[od - 104
25 L'a is og v's g's SUNRSU] [EUOREDOA [aneq - Ad
rP ¥F cr cv 6¢€ rr UOSid BIEIS ASTEA PHEMEYSAUD - SAD
vs el 29 og 293 b's . Ayibe4 Buus | yoy - 419
eyed (VAR) 40A4
snes £0°33q | Z0-A°N | £0390 | Zo-das Zo-une | 20-Aew | Zo-sdy | Zo-seW | 20-Ged | zo-uer SUOHIUYS asnsesyy aINSesill
e909 wBndors SA 90A4

uleW - paeoquseg Aoeuueud

Page 12 of 55

Filed 03/14/08

Case 2:90-cv-00520-KJM-SCR Document 2725-3

UIE

|

OG OOO S/oO/O/Olol/Olo/O/OlOlOH/ OOO SOO /GlOloOl/wle/wololola|oolo

up fun fan fun |u| uo in Fun fun un fen [in [ep fo fan an fa fae fo Pon a fen Pu Jud fod Pu | a | [un fin fun | on [en | on

un }ao fan fan fae fun pao | fue fu [a] ue Po Pon | un en fon fan fie [un fun | fu | un [us Jus un | 0 [op es | ug | io [i

Byep ou

Spt SPSS St eye tt et tt tye ee

Bep Ou

TIO OOO CFO OT OO OP Pe) OO Ooo or [ees | opel eo] oped oo footed] co] oop eo bee

BEp ou

EVEP Ol

Sfp [cp pele pepe pepe piled picid [cp [ ee pepepe| ele le|eicle

Helelelelelelelelefelelelelelefelelelelelelelelel-le|-|-|-(-(|)_|_

BIep Ou | Brep ou | Bepou jeyepou!] eyepou | eep ou
Byep Ou | BeP ou | BEpou feepou!/ Bepou jeep ou! eyep ou | yep ou | Pep ou
BBP ou | Byep ou | Beppo | eepou!] eyepou jeep ou | eyep ou | eyep ou | eyep ou
BJED OU | EVEp OU | IEP OU | PEP ou | Beep ou JEEP OW | epep ou | ByeEp ou | Byep ou
Byep ou | eepou | wepou | ewepou!] Bepou | eep au! eyep ou | Hep au | eyep ou
Byep ou | eep ou | Blepou | eepou!] wepou | yep ou! eyep ou | eyep ou | PyeEp ou
Byep ou | ep ou | wepou | eepou!] wepou | eep ou] eyep ou | eyep ou | evep ou
Byep ou | eep au | Bepou | aepou] wepou | eyep ou] eyep ou | eyep ou | eyep ou
eyep ou | eyepou | eepou | ewpou] Bepou | eyep ou | Byep ou | Sep ou | eep ou
BEG (O/APa) LOAd
snes 20-999 | 20-A0N | 20°90 | 2o-des | zo-Bny | zo-inr | zo-unr | Zo-Aew | Zo-dy | 20-eW | 20-8 | Zo-uer
Hleleq Wy6Id03¢ SA 90A4

Uoganysues Jap - ayy AA -

UOSH ed BEI COSEAA - SSAA

‘USLUOAA 30} UOSH SPES ASIA ~ MASA
USSU SEIS AayeA BUIES - dSAS

unuand UBS - DS

ouelog ‘Uosg SJFIS BD - 108

Jajue> YONPAISSUGS Bas - 99S

Ji asngy sourjsqng BILUOHIED - SLVS
OPUBWEIORS ‘LOSHd SE}S PILIO"ED - OVS
Ayjioes YOD ueAoUog Py - Ory
Los ayes ASTEA JUBSEelY - dSAd
ues a5 Aeg UES, - dSdd
UOSLid B}2}$ WO YON - ISHN
UCSUd SJE YASUO FIN - dSOW

Wi] Hosiid AES ED - OWT

UOSLg S}E}S ABIIEA Wey - dSAW
USSU SIEIS POOMUDIE - ASI

uosid a}23§ Waseq YBIH - dSGH
Wos|o4 - 70d

SINUISUE PeLOESOA [ena - IAG
Losi A445 ASEA EPEMEYSNYS - dSAD
Aqoes Burures | u09 - 419

Jayag UORENPqeyay BD - OUD
URINDIOD ‘SUOSU SIE}S BD - HOD
Aube, [eolpayy 2D - 4WO

AUQIOD S,US| BD - BIND

UBLUOAA JO} S]NIYSU] OD - AAID

ual Jo} ayNyWSUI BD - WD

YOSUd SPS BeuUgUaD - NFO

AUB SUBLUOAA BD PEUSD - JAAD
aINRSU] UG BD - 19D

Jaqusp oD 29-9909

UOSU BIBS EMEdIED - T¥D

USSHd SHES (EUBAY - dSV’

qot0.Mz Xe [EOL YD .
UOSIg SJEIG COSENA - dSAA
USLIOAA JO} UOSE SFES ASIEA - ASA
UOSL | SEIS ABCA BUIES - ASAS
unuann UBS - OS

OUB|OS “UOs SEIS ED - “10S

J3ISD LOFRAIGSUGD BUSS - 59S

} dl asnqy sourjsqng BIMOHeD-- 41VS
f OWWaWIEIOeS ‘UOSUY SBS BILIOWIES - NYS
Ayjioes Wod UBAOUSG MY - ary

suonuyeg aunseayy ainseow

ule - preoqyuseg Aseuuey,
Page 13 of 55

Filed 03/14/08

Case 2:90-cv-00520-KJM-SCR Document 2725-3

d UIe|]

5 CH) = = a
%S (H+) ;

SE a ae

UdSUd SEIS OOSBAA 7 dSAA
USWOAA 10) UOSL JAS ADHRA - AAISA
UOsUct a}E4g ABIIEA, BUIIES - dSAS
unUanNt UES - Os

OUBIOS “Os IS BO - 10S

JBIUSH VOPEAASUCD BIS - 39S.

di asnqy Sour s_NS BWOIED - 41S]
OUAWIBIORS ‘LOS SEIS BIWAWED - WS
Ayjigey od UbAOUOR PY - Ory

uosii S}E}S AePEA JUESEAld - dSAd
_UOSLd ae15 ABQ WeDo - dSdd
UosUd 3215 Wey YON - dS3N

UOSWid AHS Way ZINA - SOW

W1 Uosud a3235 2D - OVI

UCsU S]E}S ASPeA WAY - dSAH

USS BIEIG pooMua - JS}

LOS BES Yesed YBIH - dSGH
wosjoj - 104

SLNSuU] [EUORESOA Jens - |Ad

LOS” 2295 ASIEA SIEMEXONUD - dSAD
Ayoes Bure ued - 419

J3qU389 LORETIGeYsy BS - OHO
UBOHUOS ‘sUuOSUd 3181S BD - YOD
Ale IPSIDSIN BO - SIND

AUOjOD SUA 2D - OWS

USLUOAA 103 SNPHSU LOD - AAID

Wall) Jo) aynyASu] BS - WID

UOSUd JES BSUNUaS - NA

AWN 4 S,USWOAA ED [EQUES - IAAOD

: __ SINGS] UOD BD - 195
J3U85 105 29-955
Uosud Byeys epedieD - TWD

eeuinines ADBUUEY-UON

ms *e | He |) 8 ‘ee %E |] HE sueseg |B UNE ION eBeeDieg epIM-WaSKS HOS
___ ASeUUE
a wz | wee | wee | ee | xz | xe eueseg | eu SS sures ion sbeusoied epuruisiets ods
wea | OAR Tay aa
SnqeyS 20-229 | 20-A0N | 2090 | z0-deg | z0-Bny | zo-Ine | zo-une | ze-Aew | z04dy | zo-reW | 20-424 | zo-uer suontuyed ainseay | — eunseayy
WET | seudors |S 90A4

voRONASUCA JepUn - SHUM ulew - paeoqyseg Aoeuueud

Page 14 of 55

Filed 03/14/08

g Gobaes agneadrigi

%5S Loo _oseee coo [sess ‘O_ [Pers pone ESOC oar SNOSUEIOOSI) SONIC OBIPIED “SONMO HV INOS VACIUuVO] cepabe
Akl ano [reves Loo [to 00rL O__|pasoel by ; Bleby suaoIpieg “sbniq Seip] “SOND SY INISWAOIONYS | sobabe
6 00 [robes poo [eqiZes ‘O losPoee i = swebyouupyuequy ‘souqceIeD -SONndd HV INGSVACICN YO) rarabe
azo [evearer ooo lees Oooo iS oti on SSREISOLIGH -NOLLWINDVOo 2 NOLLYWHOS GOO7E| sl8zor
aco [Sees ao [ood 'o__ [ooo mai sweby Luedeuuy NOLLYINOWOO § NOLLVWHOd dOOTa) soszo2
% “foo _[sr'ser oon __[si-zs% o __|OL bis 0 a i Susiy SBOPaLOWsH -NOMLY INDVOO  NOILYAYO4 GOO 1a] o0rzoc
le ret lereozore eel [de 1eg roe | _|solirese Bs SCE Suebiy sRelodoeWay “NOLLYINSVOS ¥ NOILWWHOS GOO 1s|G0sLoe
% LO) zoo |ieeere zoo |2rancz ro |eebee 3
LS ono {sr Loz ors leace ro __|beero SUBINBEOSRLY “NOLLWINDVOS 8 NOLLWWHOd GOO1s|ebeLoc
earl soo jzroezr. . [soo |arzoz'6 ro [sebare suoqeiederg ual] :sonig BLUSUERUY “NOLLVINDVOo 8 NOLLYNdOd GOO 1s) Porooe
Sa0- ooo ‘lags coc [ood ro lace : " SSAL-VAINSO 00078 [000091
SabRe ope _|sor ooo [ooo rosie aes a SROSURIESSIN, SONS DIMONOLY ode6eL
TO/AIO# Loa /ecrost't ao'o _[o0°0 ro [200 ; ede a i SUEXE/SY SSN ENS Sumy AMeWweS “SONnYD SINONOLIY|Poozel
%S Teo {sevegle teo _joress'ce pe Ler ee ti ma Soreee SUEXE PY SRSA SENS SONA OINONOLhv[O00zeL
Db eco {revere Zoo |e sore ro__|szeeoe Suably SunSoig otleveiy IMoPOWAS “SONY DIMONOL Iv |GOaLcL
%i6 Loo joc Sesh Zoo [Zr race rO__|bs bere ssuoby o6.ualpy-9 9 9 SPECEAS -SONHO OINONOLAY|cl2lzl
KES ele eZ Ph Z'928 fee [seascape 82 rl Oe s\suoby ableveipy-d ontiouecuks -Sonud JINONOLAY|SOcLeL |
%S04 aco _—(i4zeeh ooo _([sereL ‘oO [oele : ssuoby Weve D OF MAS SNe OINONOLNY| pozL2r
abe ero (sorecss [sro (ee pol ro__|poeaz 08 ; Sueiy Smevalpy TyaWILoAEGUAS “SOM WONOLTy|O0ZLcL
SL aro |sezavo, zee ez eoo'es ro lewzereg a ae SIpOUSedsquYSoLLESSNWpUY ‘SaBseLOLPRUY “SOMA DINONOLNY| sosocl
%- Zio |frebezt lero |ollezat "o_|oz Lavoe 2 ably UBIUCSUNPBORUy SOIL -SONed AIMONOLNY| POsOcl.
Te apo |Leoose 00  [ss1eee fo |zerpet'e GaBveuyjous} sogeun “SONHO DINGNOLAY|COpOZzL
ov ae jorses re. [leo [rr eo Lit " SLINSOY OUSVIdOSNILNY [00081
%8S- Leo _[zs'909'r LoD [6s 262 seqpaju-nuy AUN “SSALLOSINTLINYCOoSe
Eb soo _joosr.e tho ([2boe/'9t SNOBUBTSOSIA SIPOZOOIORUY ‘SAAILOSNI-LLNY| 26068
EZ zoo lag lere zoo [2 reo'e SPUBEWqUY -S|POZCIOIMRUY -SAALLOSANI-IINY|a0008
oso _fovo ooo _[oore SSPPMSuiy -sieozoadRUY ‘SSA OSINFLLNY|Pooes
oso ooo aoe loca SOSUBIROSIN SIBNABUY -GHALLOAINI-IINY| 26818
Ee reo _leretsz6 Peo [as ere OoL ~ S@PHOSPRN P SEPISCSANN “SIBIARLY GIALLOSINIINY|cseLa
LS oso joao oo6 ieee SOVARU] SSePULTEINEN -SNARUY “SAALLOAIN-LLNY|SZ913
REE eoz (eeesbic lec: |sozeeere SUSHI) SIIARUY -SAAILOSINIINY|0ceL8
PL ere. loresress |zral {pz los scer STRAGRURUY -SAALLOSANILINY 20818
%sz-_ oso _|ses6e love {zr Lee snoal WA SBUBPEQCOMLIRUY “SAALLIAINIGINY|Z6oL8
alZ- Zeo  |[ssrerse  (ébo |zos0Lue Suey ssonaleghquy ‘sjevepeqookuply “SaALLOSANI-LLNY|POOL
601 seo |apzeee> lero {leces'so SROSLEYOISIN -SEBUNIRUY ‘SAALLOSANFLLNY|ZeoL
oo ‘foo ooo {oo eer
6h soo _|rraer's toa feroeTT SIEBUNYRUY -SAALLOAANFLLNY|azr18
TOFAlGa aro [ooo wo _{ou6ee SUIPURDOUILDS “SSALLOSINILLNY|ShPLe
%F ero [se2b. eo es0 foveteze sejazy -seBUMAUY “SSALLSANLNY [80718
68 Zbo jocecror Wo [szpzers : "SSALLISANMELNY| POLS
Hae Lo [at rro'za eco lerdeco SNOAUETAISI SOMORLY -SSALLOSINMELNY|azcle
%8- soo  lersere 200 [ez ZS9'OL SeuPOeReL ‘SOOMUY “SSALLOSINFLLNV| Pele
Sie Oro (Ze eoL'st B00. _leae2e bl SepLUBUOING -SOOMUY -SAALLOAINALNY[OzzZL8
ey ero [eesee 0s ia is0ere'ss SeuopOuINy “Soyo “SSALLOSINALNY|SbeLS
eb) eco levees tr loso el seer pats SumPvAd SoROMRUY -SSALLOSINFLINY(a!Z18
EE Wo |eeziesi ‘(lea joriesez "0 __|aesos ve i; SSpIOHeW -SOHOKMUY -SAALLOSINALNV|zicle
Pb zoo |(Sb6Lre {roo _ feo e009 fo laces é i SWEETS TSI _SogoIggUY -SIALLOSINELING|Zocts
%LE- OG |SoPosrL ioro jes ecest 0 _levepe sh ae supcdsojeyden -soqoKguy -SRALLOSINFLLNY [90218
Ez 90°06 SP eor's so'o_jecezr'2 a0'>or's = Panes SepscokPouly -soyodGUY -SSALLISINAINY|Zoz1e
be ooo ‘PL bzt ooo joss fo jeesee F Ren an SOQUUSRUY “SSALLOA=NI LLN¥|ODeo8
wae uo” ~|iseagSe Z20 feo ces O_ (Sr LZ Le ite wes) PUZ “SOC SNIAVLSIMILNY|OO8OP
OE ovo _(2eble Loo 266601 ra__larase? SHOUBIESSIW “USD 1S; ‘SONY SNINVLSIHIINT|cSPOr
51 S00 lecsoad soo _fel‘oble i " : LLNY|QZbob
eS te 0 [seior e00 [boise LINY|2tbOb
POPP
% $ $ % $ $
forara | Oa ™*
ya] SES | ee | ate, [Seven 2odesinr | Gavow zounrady | Savew Zosey-uEr isaHv) MoBereo onnedsiedt

Case 2:90-cv-00520-KJM-SCR Document 2725-3

fuo6aye5 onadeiay,! - preoqyuseg Aseuueyg

Page 15 of 55

Filed 03/14/08

§ Jofaye> spnedeiays

Case 2:90-cv-00520-KJM-SCR Document 2725-3

APE" OOO [SiZrb ono [lle aco [Zerit Sweby SUNscouN SONVIVE SaLVAVOIUO IWordLOs Ia[O0OrOr
%0E- oo [+a Ple oro [sree oo [zeae LaRnOS SURED] -SONV IVE YALVAVOIMO WonRdLos I00gS0F
ep PLO [eroseoz 9-0 |2e0sl se avo foresee se soyeinig -AONY IVS HaLVAMW/ONO WOALOSTalooeeor
GP Sco [So 6leee 20 (25 ela er zeo  feesvz ce SWeby SED GONVIVE YaLVAVOIWO WoL lo0ocor
RSL iso fecsagvz: jes0 [as leoze pro freazs'ss mueby BUACHION SEUCSOUd GONVIVE HALUM/OO TWO/eLOs Ta6LS10r
%0z 100 —«sL’606 Lo __[ogzen'b Loo (20086 SWeby Sujacusey UnisseoOg -JONV IVa Ua LVWVOO WodLod ere l0P
Bes soo [Leese th S70 (66h. o1 Z00  |sresqoL SuOfeledaly wewaseide” SONY IVE YSAVAVOIO TYOAdLOS T1002 OP
%SE te es ra0'S oO [SL Lost e00 [eo6ror SuesKojeg BUSOU ONV IWS USL vAV/OldO WWo/dLOs 131000 10P
lr O00 [Pe oEe oro [rer ooo _[oseez SHeby SURLY “SONVIVa Hal vA OISO Wo/e Loa 1a O0R00P
eco oe ooo [ze aso fooo sueby CUAIPOY -JONV IVa da LWMW/OlsO WordLoa Ta 0OP0Or
%e- poo (erste oro [sree ooo [Ze zs7 GSN SISO IOLVWEEC-NON SOs) SINVLOSANISIO/Q0008s
aco ‘(a0 ovo [oes fac'o _fooo Hd Weed secs @ GUN “SINSSY SUSONSYI|Peasse
GSS coo |SreL ONO _[Ss.osL oso fees Boog NASH WSSD S443 F UN -SINJOV OLLSONOVIOOzeags
ee ooo [her oro ere O70 100 SSLD}EY WOOD 56984 F ULN “SINSOW OLSON Vig |z1aBss
%e- coo _—‘|sP'zor ono _[so'ese eso _faazes “OSI AUBIUCD S800 GUL “SINSOW OLLSONDVId|o0sEss
eb eho [2s S0Z6b aro lec Zse el E20  lelpé0alt ssomalegn -SINSOY OLSONDvIC |oopese
Gre oO [BS zL59 eno [sr'eese'el aco  jscosrs Aydemoushuecy SINIOV OLLSONS Vid /oosses
coo —(|a00 oa" _jas‘sss aco jooo Wamu POUL SINSOV SLLSONS VIC |O00BSe
poo _—jeeae ooo _fovos aso jo0o SHEDS PUaSEXW SING OLLSONS Vid o0ss9s
ovo (ere. oso joao aon joao Gagound 4elpy -SINaOV SLLSONOVIG |ooorss
OF to |[rezeg te SO |paseo' re Zo excel re STOW SWE] “SLNTOV OLUSONS IG 00529
%S0E ooo [zezer Loo __leeega ooo jesoz ZSUSHYNSLy OMIOSOUSIPY -SINSOW OLLSONOVIC|OOPOSS
h6t ooo [Fe sth oro joszr ano _‘jeg'29 SNOSUBISOSIW, -SLNSOV OLLSONS vid |o0008
06 ooo (Pl es oro jesse so [rLar SINaOY TvLNadoodnre
%ab zo _|taeas'e9 Pro [evra es Ze0 (see. 8s SROSUEIESSIW -SINJOV SNo|Ooceec
"az Ot levers. |L60 [PS OP. er G60 fey ooO Srl SJSUOHY Ullo\oIEg SAtpapss) Sjueby SUBISUACY “SINSDY SNO|Bzcese
ML clO _|SsSLo'sL a0 [916or'eL oro flgreer're Susy sUEWURLY “SINS SNO[Ooazae
ee PEO _|ersorae 6lO [eters ce teo {Sb bse 08 SHOSLE|EOSA] -SogoudAHeaqepesMMORLy “SINSSY SNO|eerzee
%b- eno _‘ferisre zo0 |zacsbe zoo leseirz soudezeipozueg :soOudsHSARepasOnaORLy -SINAD¥ SNO|soreee
web 10 «(se oel'z Loo [Zorse + hoo feeaszt SONG ssROUTKHOAREpASAIAORUY SIND SNO|POPzeZ
%LPL ooo _—*|([Sz"BLL foa'o _|6a°saL ooo fo er “OSI SWEINUNS PiqaeD y Idsey XelOUy -SINIOV SNO|esozez
"02" too  |ecezoe Wo [Sere b Loo ist P86 SSUIIEIe qu “SUEINLURS feMeed gy Idsey XBIOUY -SINSOY SNO|PoozeZ
%9 egce |[iszeverts laze fezsoesios [sect lear sopoupAsdhuy sseby sgnadeunoiprss SINAD SND|sostaz
Sebz- we [sezoiues 2Se |ecore sss Lip  iZe ero Zo SUESsedepRUy -sWehy opnedeletposy ‘SINSOV SNO|POSLse
%66L coe 62'6EL SOL’ Led S2°9ES'6SL'L ope BZ 296'LLL"L SNOSUEBISIA) :SIUES|IRAUOSHUY “SI NADY SNB/zec lee
LER ooo [coo ooo |rrl6 a0 jesse Sapling ‘SUes|nAUCOAUy “SINS SNO|OzeLee
8 lero [evecerga sro [sesss‘oz ro jeeceoss SUMEDAH -SWESIRALOMNUY “SLNIDY SNO[ZLZ1az
BE O70 [on ees Ooo jevez ao _|rz ee SeuMezepozveg SWESRAUOONUY “SLNIOV SNO|s0c lee
%SL roo orrZe's eo°0  |60'Shb oo ipezeL's SaEqeg -S|UESMALOSUY -SINIOV SNo|Poclee
B18 Two [segert Le |b S80) aco jeesey ssiuobepry eed ‘SLNSDV SND|O00L8z
Ke CFO |rstea re oo ler ozZ EL E00 jeg ez bt sonevkdquy 7 Soissbjelly shosueieosiW SINIOV SNo|ceadec
%60b ooo [ee aan neo legos aoe  jerzs ssiuaby ied aeido “SINADV SNO|zLs082
%St 10 |Seablbe. (sro (seseeoze 290 jeg cez LoL ssiuoby sjeldD “SINIOV SNO|s0s0ez
GbE ject [proscazt acl (prese boc art jecibbéle QuaBy CQ SORUEYO!-ALy eploleSUON “SINAOV SNS PoEoeZ
Shh too _([eeeert LOO [se rsa boo {ez 6a0r SOGeLSOUy [BUSS “SINIOV SNO|OOroe.
ES oro |erres pL eco lev esr'bL 00  |Seare'zh IuObeuy (aUose;SOp|y) PIOORIOOO RSI, -SOUGRUT SYWH -SOnda dy INnoSvVAOIOuVO|Oecere
l8 larg [og eze 6&0 jos seces EO [ss beo bs SIOORE LY Josdacey | USUAOIBLY “SONqUUL Sve “SONY MvINOSvAOlOMVO|sozerZ
4 eco |b Zacee es0 lorraces reo [sasrols SOUGUU] Sov SOU SYVe SON Uv NoSvACIOuVO| rocere
%l- 200 |SzSreoL ao [OSeLG cL ROO [Prodi bt OSI -Ssapolg PULEYS LINBIED -SONdC Hv INOS YACIOuvO|conere
%E Zot lesralost lest leeeosore LZ) _|zooe se SSUpRAdGIPAYIC “SHOR UVEYD BINPIED “SONY BV INISVAO MVD |soazrz
0S 190 [se zeres PSO |e zor be BS0  jageec ae qusby Gunso SBelapys “SOndd yv nos vACuva|boPare
Lb 200 [ez ees Or So0 (Pr ros6 E00 jzvecee Sosy BuPpoIg WERVERYO “SON ev NISVACIeWO|O0UrE |
ooo _—‘[eao fsa [oo'o oo [ooo Swaly GusdlEeDS -Sonua uy nos vAClOd¥o|D0SLPz
ee LO _|besez lwo ([ezs6c" too. {ersret SHOSUEISOSIA SILABY BUREIPOSEA “SONYA MVINDSVAOIOMWS|Z6eLe2
HELE Woo _([Seser't loo  (seser zoo _lebzege OUTMU SseySeIPOUdsoN sweby BUREIPSSEA SONU UV NOSVACIONVO|clelee
GEE soo leeere's S00  [ece208 S00 [sroozz SSRN swaby BUpEEROSEA “SOMHC Uv INGSVAGIMWO|B0cLre |
poo —[zoue SNOSUETeOSIWy ‘swoby aaisuajodAH ‘SONU Uv INOSVAOIOUVo|cseOre
GE ero  |seorrr Poo |Prerss eoo [loser r SUOFERPOSEA FIG “sWweby easusjodAH “SONwd eVINSvAOIGMVO|ozEOrZ
51 Leo _[Se'renzt gio {se clr Oz sO [pp bes ol SqSIUObY-b [BWUSD .sSby SAisuRodAH SONY Uv NoSvACIOuYO|Slaore
OLE poo fea utes roo leo rars 0 ~([soZal SROSUeTSOsIW] Sweaty otWepadMuy -SONndO UV INOSvACIGHYS|eao0rz
Ez gor feraresis sos loresoces eG EL eSZ BRL SOWGIUU! SSEPNPOM YOO SIH -sueby swepediguy “Somid av inosvAOIGEWS|s090r
EE bho {erZeleL LO _[SPS25'St tho _|eeboe's SeATBANaC PRAY SUA sUabiy ol MY SONG Wy INOSWAOIGNYO|S0g0r~ |
*Og bea _foozsg'or tO [oars SL Bro joclas SUG VoROSTy HessIOUD -sueby oepediguy “SOndd HV INISsvAOICHVo|SUsOre |
ee poo” fseless E00 los aloe eo [iverse SWeRsanbes phy aig -sWaeby sllepadynuy -SONYd Yy-INoSVAOIGNWo| Prosors.
torn) (245%
veg SIQRIg eee, to ons 0 Bayow 2odas-inr | Bayow zounrady | Bayow zp sequer {sat} Gober apnadeony
wEidoys MAS E

Auobaye5 opnedviay - pueoqyseg Aseuweud
USHILASUOS LARUN) = SHUAA

Page 16 of 55

Filed 03/14/08

Case 2:90-cv-00520-KJM-SCR Document 2725-3

ob

e0'0 Is‘0ee'P

POO Jo0"0s0"2

SOO jos'pez's

Ke OL‘ LOZLE'FL LEO joe Sog'AL Plo (oe 608'0c
Sole Zak 92 'PRO'ES) e6'0 |OLEL6'SPL e20 foe see'Le
SL SLO OS Lee ze g0'O _|pZ'ea0'eL e0O | les z62"LL
Sb- too iro OOO [eb ele 2o'O | eo'Los'z
er oo o0'0 Oo'o | 4e'201 ooo [oeée
%SL Loo 65"s06 Loo |SLOLE LOO [Sh'rret
YoL- Loo S0°2bS'L LOO [Le'epo'z zo 060152
SS L- 400 eS"t9Z'OL 300 ([S'srb'cl 200 [éb'beh Lb

%9 20°0 eee’? ZOO (OS 2427 eoO be°s60's
cae too £e"Le0'zZ Loe [Lé"oze't Loo |oszezz
ahe- d0°0 Lbess ooo [£276 Ooo [6b Zoe
es soo Sse625'3 soo 82 bere g0'0 om 6er'e
MLE aco ee OPS o0°O |S90°CSL OOO [oct
Sorp f60 ao'see' Abb rol | LL Sée'eol Lav 86'RE7 LS!
Sarh- 20° aecoo'at s0'O [6b 'zeo'e. OLO [62 268"rh
York ooo S6°S0r ooo OL sey oo eg’sr
SeLOL Sik ‘jec'ers'séb 907k [or 2el 29L S60 [cr oee ch)

os‘ re ose oo'O _|g6's0e ooo [SZ OLe

%E- et 'O iSE'6B0'02 eb pe bse Oc sh 'o EL PLE'SZ
oDGS oo'o Se°s6 Oo" EL'39e ooo | 4e"6rL
Wee Loo SS £08 Lo" oL'se6 ooo [fe 2e9

00°C 00'6 ooo joo oo'o  [oo'o

Sabb exo 2e°}92'Se Seo 86 40698 ico [s/o Lee

ee OO. £67929 too [ii sre'g 90°o ib rose
Yb 200 LP'ZzLO'e ‘ er cbr 2 eo'o  {ze'9ss'e

ES Plz LS LSe'eLr PPE roe ise lse
SE Lo'o Ls'586 OOO jee ehh Loo [rrees'L
lt 000 o0'G ooo isz'saz- soo [ri see'r
OS oe 0 SL‘009'EE bzo | jodosr'se ozo [a2 -as'6z
SE 40'O $0" 200'¢. Lord [66"69e"L LOO [ée+ba'l
‘ee jee Se'oe.'eze 28° Ge BPS Pe gsc |SP'o6L'see
COR _Jeo"o PO'ESS'S ZOO [G2 bere zoo jgesss'z
MLE ooo OL’SSe o0'0 ble ooo |es'ere
“abe- 90°o eb'pe2's 900 e602’ 20'0 | SP'eS6"OL

WLSEL Lo"G 6L'8S2'L bo’o 2G SES'L Lod OL Lge
oe Z0'0 PO'ESE'Z ozo [el be0'ze be'o jes‘asa'.e

ole- Lo'o SL'2S2'L boo [Se6re'l Loo Le pge't

%oGE" ooo ses ooo | ae’s ooo SS bb

%S~ Zoo Bo PZ6'e ZOO [arses 00 |6o reer
More ons _[os'rz9 OO [o2"es0'L Loo, [Sk bes
lS seo |pO'reo'rr peQ [be Ses sco les'eso'ze
Wee Loo Zo'Ses'|L 400  [ez’aps'h Loo [geSe0'L

od roo g2°255'S £00 jas eco's ro'o | sr'Leh's

61 Zoo jéLse8"OL 20°0 "| LPSOs'LL BOO /Se-z6'bb
Yale roo soles fe'0 or lee'6r LEQ [da'oce'Sr
LS sod eO'Ore soo j2o'She'6 eco es’eas"y

WRoPL oo'o PS'SOb oo |er'eoL ooo (soot

LE Loo pa‘Ze0'L LO’O | fe Seb" eoo |og"oss
%o00L- ooo o0°O ooo joo co'o[oo'o
“Als a’ Bees b'Z Loo sore’ iodo  [eo°s0r'L
Ge ooo L6'667 ooo jaeooe ao (Se"ror
"e0O}~ o0'0 coo ao'o _joo'o too | 000
BL 406 86'259'1 Loa [2zSoL'h Loo {SSZeZ'L
Sobbb 400 6Lere OL 200 }B6 LSP’ bL OO eh e629
WE E0'L £20695) Pe [es‘oze"o6e és} jos ano'oez
Sack 2o"o feScL% 20'o_ |es"so9"e zoo sfzg'aec'e
SE" a0°0 Seese Ooo [62a boo feo’sle

80°D oP ey oOo [00/61 ooo 000

ee £bO re SaL'S2 4L'o [ea Les'4z gO [oseol're
89 soo PE CSE'S 200 ([gs‘cle'eL gc'O | rr'oi2’6
Sede ao°o OL Se Ooo [Sé'6L1 oro fesse
Olé Po'D Le“2e6'S soo [sets ei |eo22e'6L
Seek Loo cS 258 LOG [LOVEE 'L OoO jee9co
orb |20 £6 Cre GL SOL |pe'ezs"SoL 260 [é6e'sea'seL
St 20" OP'S LS'F 00 [ev acr'r PO'O bet 29'9

006 oc'o LOG |4S"Fr6'L Loo __|seeer'h

Bayow zodaginr

Sayow 29 unpudy

Bay ow 26 28 W-uer

AoboeS opnedesay

SIEAQUY CANVYSABIN SOOSNW ? NMS|90r072

SIEVOPEQaUY VINVYSAGW SNOSNW 2 NS] Pories

SANISOVAIOOZ 08

SCIOXOLo0R00g
SWAxSS|O0ro0R
SOISOLAKO}o00ogZ

squady prudyl ‘SSNOWYOH|POgEsS

sugseboig ‘SSNOWNOH OOZES

Angritd “SSNOWHdOH|ooezZes

POKER ‘SSNOWYOH| OOrzES

Sybeby opAjousdooxic) ‘suaby SgaqeIpauy “SSNOWHOH|elzeno

SNOSUBOOSIW) ‘Syuably ohadeinquy ‘SSNOWHYOH|zs0ce9

SeuGIPSLIPOZE] ROQEIPAUY ‘SANOWHOH|sz0e89

Seain|Kucling, “SUeby ojeqelpnuy ‘SINOWNOH|Ozoces

Seppe) ‘suaby opaqeipsuiy ‘S3NOWHOH|s1ocs9

SUINSU, “SiUabYy SNeGePSUY -SANOWHOH|s00cs9

SORSUIA URAIOU SSANOWSMOH|S00c83

Sepwenbig ‘sweby spaqeipquy ‘SSNOWHOH| Poors

SORSWIWOUIALY (aUaby oheqetpaury “SSNOWYOH|e00zes

SUOHGIYU] BSEDISOSNS-o -squaby SHeqeIPSuYy “SSANOWOH|co0cEs

ssquobepyasuoby usbeysy -SANONSOH|ec1SLa9

susoqsA “SUNOWSOH|POSLe9

SoAMTSOENUOD -SSNOWYOH|cOzLa9

suaBOUPY -SANOWEOH | cosas

SIeUaIpY “SUNOWYOH|Cor08s

SLSINCOVINY TWLEIN AAVSH/000rS

SNOBUBIE0SIW ‘SINSOY TYNILSSINIOULS¥/a0c695

sweby Lcpeuupyurguy “SINSOV TYNLLSSINIOHLS¥5 | 609695

squaby Sneubiald “SINSOY TWNILSSLNIOULS VD o0ce95

SOARIME Guid UOIGIA -SINSOV IWNIUSSINIOMLSWS|9e8z95

QUEPa Cd -SINSOV TWNLULSSINIOULS YO) Zeezas

Supuel id ‘SINSSY TWNILSSINIOULS YD /s28295

RSUOBEUY -ZH_-SINSOV WNLLSSINIOM SV] zlecas

SNOSLIE|ASIW “SageWERY ‘SINBOY WNUSSLNIONLSY/z6e295

sysjuodewy soydesey S1H-G ‘SINSOV TWNULSSINIONLSYO|0eecoS

SSUILUEISIURUY ‘SENESOY WNUSSLNIOXLSYS| 802095
SORSWS SIUNZSY IWNELSSLNION LS focozss

SHeseby] -SINSOV TWNLLSSLNIONLSYS)|GOSLas

sWsby SAISON “SLNSOV TWNLLSSiNIOULSV5|00P:

SOAREXE] 9 SUMELNED “SINASY TWNLSALNIOSLS YO} O0Z!

~_ SUSIE LIUY “SINIOV TWNLLSSLNIOUIS¥5/0c0195

Sweby jeayvemnuy “SLNZOV IWNULSSLNIOULSY5 [008095

Squediospy '¢ Spoey -SLNASY WNUSSLNIOULS S| 00P005

SHESY Snoal t N33 /00z62S

SuopysuososeA “i Nas|00cec5

SOlBJed) B SOUSEMLANOW -LNSS [0082S

SOQeUpAIN “LNSa|0OPzeS

SOROIA, -LNAS|O0oees

Sonetasalty (2507) -LNAS [008125

SUORKIOS Sua] PEW -LNAS|00zLZS

SIQUGIQU) SSBIPAUUY OIUCIED -LNAa/o0d Les

LULGEYUL-RLY SNOSVEISOSIN «LN

Sueby Aojyewureyur-quy [epOusjsUON : NSS

Shlasajsooqog ‘1N5S[sqenzs

SBANSEUHUP SNOQUEIGISIA) {LNB [Zeb02S

SHBARUY LN3S/0zr02S

SROUNRUY | LNESS-PbeS

srevenegnuy JLNASiPOorogs

Suaby oe equy -LNaaiOOZ0cS

SLINSSY SILLA TOONWIOOPceP

SLNVHOLISoxS/009)8r

SYSZNNSVLS TISD-LSVWI EOL er

SUSIFIGOW SNS LOANS| roller

SSAISSNLLLNYOOSceP

SSINA2NS] O000rP

Sav) Lobes ognedesays

Aobajyen onadesay| - preoqyseg Aseuweyg

Page 17 of 55

Filed 03/14/08

ob AoBaye> synadavay

Case 2:90-cv-00520-KJM-SCR Document 2125-3

oo. [esiis'sze si] ool ] seeer orl St | ool | Pe Pas bss tL
oso «(ae L016 oso fsesirur food faresecr TINN
SOE Sco [sl ee. se 950 feso/oee EES every 29 SINVIADVOOLING | PozLoz
%98 Zoo ([eLSe2e zoo |leoees 200 _faozor'e Solv TWOILNSOvWaWHa] 360086 |
“5e- soo [ze zee soo [40'2z6"'P soo |ssora'r SSOIATCa000¢6 |
0S ps2  |reseoses flez [zt'sze'ose sce [so'Srosce SLNBO¥ SILLNadVYSHL SNOSNYTSOSIN econ
“SP soo [soesz'r £00 [e06eces soo [ez'26r'r SNOW Vavdadd NIM LIAL INI oDeces
EEL zoo |si'ses's ido feszss) 200 ([6sé6ee6 ALIALLOV H NIAWLIA}OOFES8 |
Sb aoe forbes BOO arte i 0 lovee 3 NIAWLIAfosozes
EPL sve [seérs're a0 [sosea re eho  |elaoe' zz CONIA LIA/OaS Les
%5S boo ‘(Si pee Loo [ze tsa loo lecede 9° NIN LEAOG2188
‘ee soc [esses E00 |Le60L6r soo (si Pose XEAWOD Ss NIAVLA;oagos3
%E6 " os esr goo (lée6 coo |szeL ¥ NIA LIA|OorORS
%34- Lo" 60 oes |b i000 |S06r'L Loo [za'psrL SINVXV1S8 STOSAW HLOOWS ASOLVuidSae|oast98
59 60. eg ses el zo [Ze Ore et Cho [za esesi SINVXV Se EISSN HLOOWS AYYNIENOLINSS)|00z198
EE Sr $8 286 66 ero [LO sorsz sro [oreo eg SWSbY SNOSUE[eOSIN INVESWSN SOOM = NIMs|cozera
SOE ooo —sfragnz eco  [eo'20r coo [issee speby ueabsuns -INVSGWSA SNOONW S NS|G00ers
5 ooo _ferose ao [Le bzs ooo [sL's0z LQUSUbIded -SNVEEWSAl SHOOMAS NIS|POOSrS
le | roo feo'gees roo les éero roo [ézies's Sueby Snsedojey “SNVEOWEN SNOONA ® NDIS|O0ZE>R
Oe _ {900 [Pe Lre’s 200 [OR Lz OL Zo0- [ea zeqor uabyomioelsy -aNYeENEW SNOGKW 8 Nis |oosers
KEE joao [so'vez ooo [besee noo (Sz 202 Sybes|nlWweg 2 vepmed 382g “INVOKE SAOONA 2 NDIS|OLbcre
has 200 |erelse eco er'esa'r oo [oe scs'p SHEPAOid F HUCUALIG OISeq “SNVUSKEIN SAOONW 8 NbiS|elrers
SobOL oO” [hers ogo (er oss doo jzo'e6s Soajos 2D F SEO SISeG “SNVHGAGIN SOOONW ¢ NMS{eorere
BLL f2oo  [erare'z zoo [le Zsle zoo felors2 SyuStWIUN 2 SUOROT FSG VSNVUSAEA SNOSNW F NMS|Popere
leoo [aoa ooo foo ooo food SUE A Old *¢ HUSINUWSG “SWSIOWA “ANVUSWEIN SHON § NDIsloorers |
eb aco [er ble Wo [sates Loo lees SHR] “INVESAGA SOONA = NinSlooozre
68S- Loo” [SS zo 8 Lo [eo ere? ooo ‘fae ezz- SWesANOis e SUBINERS 16) SNVHEINEW SNOONA & Nhs] 009: ba
GEE ao‘ _*([korZs ooo [Za 149 neo [éeree swetiasy ‘SNVUSINEI SNOONW 2 NINS|O0zLr3
Eo 200 ([2erer'or 970 [zo pes's sco [6s eso SopeAseuy 12507 S SosUrudguy "SNVHSINSI SNOONIW & NS loosore
%SE vO [er bze le PhO |eeeg'ee sto [OL ere ULE CENWEGINW SNOONA  NDIS[oosare |
%9 Leo [Sse breZb LEO [eg6sSZ1 Oho [Po'Ler SL. HPRuiy JeOo7 snc IW ANVEEWEW SNONM S NES|zerore |
oe boo ([@e’eso'L wo [or srt Wo [iez6et Sephirsibed F SSPOKeoS “NVHSINSIN SHOINW'? NDIS|eLPore |
Boz zo. leorsres Zev (sz 00e Pe Geo [Elsen Ee SOUNRUY -INVHEWEW SOOM = NDIS|eOrabs
Bayow Zdodes-inr | Sayow zgunpudy | Sayow sosew-uer sauw) 4 3 sanedesous
Tah tome era . AloBaye5 synadeisy) - paeoquseg Asoeuweyd

uoVonySuCO JOpUN - 274A]

Zk * ApGeyep opnedasys,

Page 18 of 55

Filed 03/14/08

godagynp | Bayow gounpady | Bay OW Zo sey-uer {saHy) LoBbazeg sqnedeiey,

Case 2:90-cv-00520-KJM-SCR Document 2725-3

Aobayen ojnadesayy - preoqyseg Aseuueyd

woron3sU0 JaPUn = UA

Page 19 of 55

Filed 03/14/08

Case 2:90-cv-00520-KJM-SCR Document 2725-3

ELPEOPHOAA

96 9'6 36 98 oe 38 a6 OG 06
os o's a’s ag oo a9 o'9 os 0g
zg 9 ag a's og 09 o's og og
9ZL el | #01 ool os OL OFL Ol
ee 6z O'e Ve oF oe C's sz Sz
es ee ce ee OE OE O's oe oF
Or or zy av o's os O's os os
OL OL OL al ol ol OL ot oF
92 £e gz SZ oz oz ov oF
S's ss Se Fe oc Sc Sz oz 2
SOL'sl | £80°aL | ZeZa- | psr'oz | zsp'6t | sse'oz | ces'z: | zes'6L
. e6l'SL | oro'oz | Loe’sL 686 61 6Le'sh OPb'al Les'rL |. 79e'SL
puPe: “ BOL'LZ €S6'LL soc'6h Pi9'LL | Sash
= 80°12 OSS bE se6'os gce‘ze 6ze'9E
&P6'st 2£9r'eh ag2'6E 6629) ézl'éb
= roo ce] ses'éz | beg'cze | sega | zZez'se | zea°ce | gae'sz
| Sae'l i bee's Lord L39°2 z3e's oPa'6 age SLPS
_feeeeeeeey coe le | 12a'se | goc'zp | Zeapr | goe'ce | siege | Perle
82991 e6r'st | See" 4b sze'el 99r'S1 gce'og 65621 FLO'Og
Se6'l2 | 22ese | oao're | a6a'gz Sti'se gzg'oz | ers'zz | 60192
892'PL | SZ9'SL | ebo'sL 82021 oes'PL FGS°SL geet | Ze9'9L
feestoesee| Spz'ol | LOV6L | sle'sl { coe: | St2'él | SPOSE | SoB‘ZL
9216) Lel'zz | spa'ze O0E 92 be sz e10'92 | scsiz | S6L'rZ
OLp’pz | Lls'9z | eob'oz | sezZ'oz £60°C7 ge/'re | Seele | Ssee‘ee
OFi Fl Lie'sl | ZZ6'SL 65°21 erase 668'S| BELeL 19S‘9L
peng Lees eis’ L o9e'3° Ses e902 SLS's por
POEL | EZb'eL | gb2'eL dei lh baa g6e'2l 6ZL'OL ci bh
965'6 6946 g0e'6 Sle'v) eee sl dZV6h s92'9L ese'sl
s6e'2z2 | s90'lz | L26'81 i9€°8) 6LL'SL ogee} £e9'Sl SEP Lh
Ps 6rd $199 269'9 Ozr's $iz'9 eeo's 6880'S
sop’ez | o69'42 | Zze'>z | zos'cz 20L°€2 zec'ez | S6b'St 96'S)
8zo'rl ese'z) SOOER 8Oe'S/ gels) | s65'FL
goe'zz | peo'ze | zos‘oe | Seccz 25961 ese wz | Sla'zL | 922'6L
asecz | Zge's2 | epo'se OLL'Se Spe'ez 619 12 095'bz Eb2'9z
2e6'p2 | Obese | pesée | oie'6z oag'l2 féeig | sozre | reo'zz
bge'sh ZbE PL | beZ‘E err'rl Lr rl 293 Fb $S6'0L eOr'rl
Lie'sz bigs | 6LS'Se Ploses | SEL'9¢ GL7'8E 66L'ZE 2i9'9E
OLE ZebLk | Obb'oe SPL'OL cis 999'6 soe's SoL'ol
elo'te | aso’se | Geo ze | Océ’ re Pesos éco'ze | of2'6z | 66L Le
6er'st zog'St | 6rZ°SL Lb6'Lh OP'S) &62'°Sb Pass 691°C)
28's zé66'9 zor'Z Sole 6zo'e PLee SOL'S op 9
deed £69 £ coed 2re'e est's 6ie'8 Znet #90'9
wezoz |zecbe | wROce | 2s¥ee | PoSlzZ | eesoz | crear | zed
SA
reg (\iAr) oong 10 :
neyog | SFFS4 ss6:e, [40980] 20-A0N | 20490 Zo-dag | Zo-Bniy | zo-1n¢ | 2o-une | Zo-AeW | Zod | zoseW | 20-Ge4 | Zo-uer
° ybydo3ys 20Ad

LORONYSUOS JapUL] - SUM

renjoy

Ayo’ BsIpal BD - 4IND

AUC|OD $,Ua|l BD - SAD

USWOAA JO) SINVSU] OD = AAD

USIAl JO} BINYWSUL ED - WID

UOSUd S}E}5 PISURUED - NAD

Alipeg sualioyy &9 Je jue] - AMOD
ayASUl Lod BS - [99
Jue Hop BD - 399
Losud aes eujedyen - Two
UoSi| SYE}S Jeusry ~ dS

a

PUMP die XH SORISAY MO
UOSId SEIS OSSEAA - SSAA

UBLUOAA 10} UOSLIl BIS ABTEA - MASA
OSU IS ABBA BUIES - dSAS
ugueng) ues - DS

OUE|Og ‘UOSLie] SEIS ED - TOS

J3IUSD UORBAISSUIOD BLAIS - 949

Al esnqy sourjeqng Bnuayfed - JVs

Abe Lod UBAGLOG fy - Ory
UOSU SES ASTEA IUESES|J - ISAd
uosU, aye}5 Aeg UEIe - dsdd
UOSLd SPEPS WS> UWON - dSHN
UOSlid SEIS H8GS SIN - SOW

V1 UOSUd SEIS PO OVI

USI Be} ABIEA Way - SAM
UOsld 312]S PCOMUOI| - ISI

“Os Seg Vase YBIH - dSGH
wos|og - 104

BLNIASU] JEUORESOA [ena - IAG
UOSII B1EIS ABIEA SEMEYONYD - dSAD
Ayipes Gules Luo - 415

ABUT VORPHIBUEY BO - OND
UEIOOIOD “SUOSUd BBIS BD - Yoo
Ayioey |PoIpayw &9 - JID

AUO|OD SUS] 2D - OND

USWWOAA JO} SYNYRSL] UOD - AIS

Weta] JO SINYYSU] BF - WLS

USSU HEIS BSuyuSED - NAD

AUPORY S,LELUDAA BD [e.QUE9 - SANDS
SPPYASU] OD ED - 19.

JaUSO WOOD BO - 539

uoslid aJ24g BLNedIIED - TWO

UOslid 31215 feuany - dSi¥

SUOIUYSC] GINSeSI] aNSesiq

PEOPLOAA [SAd7 ANISEY - pPleoquseg Aseueyd

Page 20 of 55

PLPEOpHON,

Filed 03/14/08

Case 2:90-cv-00520-KJM-SCR Document 2725-3

uOSsd ayes ABg UESIISd - dSad]
o'6 06 OLb Obi oor O'LL o’OL a2! ozk OSU S}BIS Wey YON - dS¥N
S6 sé c6 s9 oe oz og oo! OO Uost SJEIS YAeIS FINA - dSOW
os or OF ae oF or or os os W] UOsld S}8S 8D - 3a
os 09 o9 a9 os og Os og og UosU aye}5 AaRA Wed - dSAM
oe oe oe ag ot or or ge fe UOSU B}E}S POOMUG| - JS]
Le Le ove ove oe ve ore oe oe HOS, REIS pesaq YBIH - dSqH
oo o9 OF OF oP OF OF Or Or wosjod - 104
os os os iF cP zs es os os SPNPISU| [BEUORESOA J9Naq - [AC
oe ot os: og oe oo 0 og oz uosu S}eE1S ABEA BIEMEYONYD - dSAD
os oe od oz OL od of o2 oz Aypoes Buluiedjuasy - 415
a+ er + or os os os ove ve 49}U82 LOH IqQeyay BD - OHD
as os os a9 o8 o8 os o8 oe UEIONIOD 'SHOSU S}P}S B4- HOD
s6 o°OL ooL OEL OL OLL sol oZl ol Ayiloes [Popa 24 - 4IND
os el o's a3 09 os os os os Aug|e9 sual 2D - DID
o's os oF a+r or or oF o'r o'r USLUOAA JO} ANAS] 0D - AAID
rSl Psl TF od) Obl Sol FSi FSi UBSIAL JOY BINASH] ED - AID
sc ee ve zg 09 Ov oy | oF oF UOSL4 SJE}S BjSuquen - NID
Ole OLe O-LL OL ool OLE OGL Ov ob APPIN S,UBWOAA BD fequaD - 4AADD
og o8 od a6 0:6 06 o6 o3 o'8 SNWSU] LOD BD - (99
os 0% os og OE os os OE oe I9]U3H WO B9- 9909
ec fe re oe oe os oe oe uosu AIS BLyedien - Wd
of a9 a9 a's a9 os as og os Uoslid SES [EusAy - JS
vP or [yr oP or rr vr ZP tr? JUNE dud sbeoAy W904
oF ar LE 6+ Ge os oF or oF OSU AES GOSeAA - dSAA
oF oF oF av oF or oF oF OF USWOAA JO} LOS S}3S ABIEA - AMSA
oF ge gt or | OF oF O¥ oe oe Uosij AJE}S ABIEA EUNES - ISAS
os os or ov as os os os os uquant) ues - HS
ge OF oF o's a9 os os oF OF OUBIOS ‘OSU aes BS - 10S
07g oc oO? os og og oc ov OZ J9]U84) UONEAIASUOD BUSIS - 99S
Ov or or os as os os OF OP dL asngy soueysqns Boyes - 41vS
os as os as as as as os os OUUSLUBIOBS 'LOSL| SEIS BILUONIESD = JS
#9 e9 | #9 39 ae of os oF o'r AUOBY Log UBACUOg PY - Ory
oF oP os oF OF OF oF OF LWOSL BIS ADEA JUBSBAld - dSAd
ss ce oe os ce Ove oe oc oe UOSL d}e1$ AEG UEONSY - Sad
$s os oo oS os os ce os og UWOSU ATES WOY ULON - ISMN
a9 o9 o'9 O'S o9 og 9 os os LOS SIS J8AD aN - ISON
o9 os os o's os os O39 . os od W1 UOSH, eqEIS BD - OWT
or or orp | oF Or OF or as os UOSL4 BFEES ASIEA WEY - ISAM
GE FE OE oe FE O¥ oF oc og UOSU. SIEIS poamuol - JS|
9Z oz o's o's ove sz oe oe OF Losud ays Yesed SIH - dSdH
oe oe oz oz o@ o2 oe oz oz wesjo4 - 704
op ep oe SP? rr rP PP oF or Sys |EUOReOOA jena - [Ad
1 gL e'L og az oz v2 a@ OZ UOSLI4 ayES ASHEA, EIPANEYONYD ~ dSAD
rs Ss rs #s Ss Ss Fr cr or Ayjoes Bure, ues - 419
op or Or |. OF or as os as os A3US-H UOepIGeYsY BD - 3H9
oe o's oe o's o9 o’9 o's os o9 UBIONIOS ‘suosu, S}eS 29 - YOD
SA
era (91H) coed io
lejeq ionde, } yore 20-9301) Z0-AON | 20-390 | Zo-dag | 20-Bny | Zo-Ine | Zo-Une | 20-AeW | Zo-udy | ZO-eW | 26-24 | 20-Ue SUOHIUYS BNSeol SINSESIAl
ybiydojys LOAd
fenjoy

UG SIAYSUCS JaPUN - SUM, . PEOPJOAA [BAT] APLOE4 - preoquseq AseuLeEY |

Page 21 of 55

Filed 03/14/08

Case 2:90-cv-00520-KJM-SCR Document 2725-3

SEPEOPUONA

2bz ste See ibe osz
O92 Sel o8L LBL eb
Lez Fee &L2 etc cee
or PSE OZr 89¢ 2£5
ZZb Ser OsL adh Zoe
Lee 982 £82 ele 80E
26h Ole 6Lz $22 pee
eeOvee| SLES Ze¢ gtr dvr PBE ber £6r
Srl cel rol £31 SSL OSL 68L L6/
EPL cb) PAL EAL 621 edb 662 LLEe
pel See tL fZb eel fib Leb Log
See GCL Sol Og/- 281 osz OLL 204
GEL PSL SAL 66) ZLz 961 gcc cee
Zib Sal $02 eee bee £31 LSg PRS
PSL oe2 Loe ode S6L 134 SPi asl
98 ZeEL ol ZLE £6 oe Lit cdl
Bee cee OL - €6L Zee Gee B21 931
Eb eee ace eee zor scr ser cer
282 See Loe O6L eb OBL 902 80
ape POS 651 ZSb LoL trl SPL Sth
eel 9g 612 SLE PLE Bec bre SLZ
él Sei sh eri 9sL
Pel gel pel 69} SOL 991 951 26L
LOL 62) LEL Spe Sel Sci PRL 6eL
212 cB z9¢ 922 Lee Zlz gs¢e POE
20b BLL 601 601 Leb Ele 96 PhL
86 OtL PSL fib Sez 6rZ ZSL 6S1
cPh Seb Soi SLL egt SFL Sel €6L
Ale ZES ii 62¢ SLS ser bs S6P
891 £02 e6h eoL FOL ari Zeb ¥FL
oc OGE ese c2é Lee zee LZe 60¢
eZb ri FEL esi soz 06} 001 Ol
oe ive 00g Ore oar eZt gsc P6E
£9 3 FS rs 9 79 z3 £9 2s
ce cc ce Ofc oe ove os oe os
oe 06 aL o'6 06 06 o6 6 o6
9 09 os a's o9 09 o9 os os
32 O6 o6 o6 001 06 OOL o'OL va
o6 O’OL TOL 06 os ol o'6 og oe
Oe oe OP oe OF ae oz og oe
o's 09 a9 09 o'9 13 09 o's os
O-LL OFL Obe OLE ool oO} OOF ool O'OL
o's oe os a9 of oz ol os os
ag 29 OL 3P o6 os a9 a9
SA
weg | Ana) a0Al 40
neyag | S353) ape, |40°280| 20-A0N | 205390 Zo-dag | 2o-Bry | zone | 2o-une | 20-AeW Zo-dy | 20-veW | 20-Ge4 | 2o-uer
° ybidoys 104

renyay

duly aGessay yo09

UOSLtqj SEIS COSEAA - SMA

UBWOAA JO} LOSI] BYERS ABIIEA - MASA

Uosid ayeyS ADIEA BUIRES - ISAS

UWUeEAD UES - BS

OupIOg ‘Uosld S]3S 29 - 105

JBIUSH UORRAIASUCT BAIS - 34S

dl asngy sourpsqng BIWOIES - 41S

OJUBLUBIOES 'UOSHe EIS BIOMED - OVS

AMIOPS LOD URADUOG My - OPE

Uosg S1e4g AaeA JWESEAld - dSAd

vosld arg Aeg ueoed - dSad

UCSU SJE}S WISH UWON - ASN

UOSUd S72 88D BIN - dSOW

V7] Uosud S215 BD - 31

Use S121 ASIEA WEY - ISAM

UOSILj SPEIS POOMUDI] - dS]

LOS Bes Wasaq YBIH - dSCH

Wweos|O4 - 104

BINPSY] |EUOBESOA [shad - IAC

UosUd S]EIS ASIEA E/EMEYONYS - ASAD

Aypoes Buiules uo - 415

J3)MaD UORBMIGEWaH ED - DHD

UBIONOD 'SUOSUd SEIS ED - HOO

Aloe [PSIpaW BD - SIND

AUO[OD sua] BS - OD

UBLUOAA JOS SYNSu] OD - AAID

UatA] Joy SUNNASU] BD = WIS

UOSLd SIPS BISUQUSS - NAD

AYPE SUBWOAA BD JERUBS - SAAD

SyNyWsu] OD &D - 19d

19S OD BD ~ 999

USSU BERS EypedEey - Ty3

UOSUd SEIS |BUBAY - JV

ULE AI! abeisay 4905

USSU BIE}S OOSEM - dSAA

UBWOAA JO} OSL 4 B3E¢S ASIIEA - MdSA

UOStd BIEIS ABIEA BUlES - dSAS

UWUEND UES - OS

OUB[OS ‘UCSUd SEIS BD - 105

JBUS4 WOPAIBSUCD BUAIS - 39S

ai asngy sourysqng BILUSUTES - JVs

OJUBWIBIORS ‘UOSH S}EIS BIWOPED - DVS

Ayjoey og ueAQUOg fH - ary

Losi SIS AMPA WESEAIg - dSAd

SUOmIUYIG aunseay ainsealy

PeOpoM [aaa Amory - paeoquseg Aseuueud

Page 22 of 55

Filed 03/14/08

Case 2:90-cv-00520-KJM-SCR Document 2725-3

SLPEOPHOM,

SOOZILEZI-ie Way stonduoseud Kuguow BAe = #4 S00,
“9007 ‘uer Way si payedal eyeg ‘900z/S00Z Joy aIqelene Byep Bueys peowensiy ON,

PICHIA BHeaAY HOD
piers UOSid S215 COSEAA - dSAA

USLUOAA JO) UOSIL IBIS ABHEA - MSA

UOSid SFIS ABCA VUES - SAS

URUSENT) UES - OS

OUPIOg ‘LoOslg IBIS BD - 10S

J8\US4 UOPEAISSLIOD BUSS - 90S

JL esngy souejsqns BIWOHIED - S1WS

OIUSWEIES UOSUd SIEIg PILOWED - VS

Aoey U0g UeAOUOG PY - Ory

UOSLd BIEIS ATPEA WESeald - dSAd

uosud aeig Aeg UWeolled - dSad

UOSUd STIS WEY YON - dSoN

UOSU SIPS 49324 BINA - dSOW

W] UosHg e}F45 8D - Sv]

- OSL B25 ASIIEA WEY - dSAY

UOSU SIS POOMUOI - ISI

UOstie| apes Y2s0q BIH - dSCH

wosjoy - 7104

SINIFSUI PEUOREOoA janeg - 1A

UOSUd S}ES ASTEA BIEMEXONYD - ISAD

Ayes Buel WO5 - 419

aqua) UOREWIGEYeH BD - 9YD

UEIONUOD ‘SUOSU 73S BD- YOO

AyIlDe J [EOIPaW EO ~ 4IND

AUQIOD SUS B4) - OD

UBLUOAA JO) BINS] LOD - AID

USA] JOF SIN}HSUP ED - WD

UOsUd SJE} BIeURUED - N39

AWE suawopA ED feyjUaD - 4AADD

aynyysu] oS BD - 19D

Ish 85) ost | e9t | 29h
08 ple 642 | ssz 1 re
0b OL 86 gob 66
O91 92 08z Lee | Fe
38 col 06 a8 16
S91 oz cpt | ost | Sh
bel Orb alc | ee | pee
Le ele eze | ase | see
eB za S6 56 g6
elt | zor | pet | e2r LL et | ooz | 402
zoL | czi | 901 | cor 18 6Z ozt | Pel.
pestce| od €8 06 $8 28 eZ Lz
88 ole | zal LbL Zeb eye { phe Sth
gaz | 6ce | Sle | 0s 682 waz | pee Todt
zoL_ { est | vel | oor Osh srt | oz 1h
46 zet | ozt | zeb £6 08 aol | 901
pet | sez | oz | cer PEL eek [82h
DZ zt | tbe | 2st Le az [vz
est [| tic | ze. | eer Ssh lat | sot | oat
wee gh LO} 194 evL | spb | Spb
Zz | 26+ | 6at | 9e1 coi | sel | pet | Get
ezt_ | abt est Eph Laz
eet | oz | sot | Zz vz cel] abi | 2bb
6 Zeb [ zor | or 901 alt | gor | pol
eet | oft [ ert | gee Lie pez | sce | poz
vel | sZt [ pol | von Lat sal | Fra Lb
08 ou | git | eet SL 99} bes [ih
sor | sez | 6 i Zeb or | ait | ozb
gzt_| oot | \er { och Leb ort | ort | sel
$e det | 98 06 Ls ze zs 06
dzt_ | ate | gat | pz Zeb

Jajusay HOO 85-309

vos ajejg eujedied - TWO

4044 SA
S90As 40
yore

Z0A4

(Siar

snqeg }
yBydoys

2£6-33q

Z0-AON

£05

Zo-dag | 2o-fny | z0-76r

éo-unr

Loudy

Z00EW

240-494

USSU STEIS IEUBAY - dS

UORSNYSUOS JapUL - BUA

PEOPLOAA [9AS7 Aytsey - preeqyseg Aoewweyd
Page 23 of 55

Filed 03/14/08

Z0rAON

20350

2

ordi

aS

(SS=N} (Pore JON) {e101 passed juedI1ad

dSM) UOSHd S}E1g OOEAA

WIN
WIN {Ad SA) UsUIDAA JO} USS e7E}g AaEA
VIN (998) 19389 WoREAIESUGD BLAIS
WIN (os) UUaNt ues
VIN {dSAS) Uosiid 33835 AaEA BUeS
VIN (ara) Ailige4 4405 UBAOUOg FY
VIN (dSAd} Uosud eTerg AoyeA Juesealg
WIN (a4$ad) uesid eyeys Aeg uesyed
WIN {dSMN) UOsig a]275 Wey UONE
WIN (ASOW) UOSiY 37235 49013 AINA}
WIN (dSAy) UOS|Iq ayeys ABA wo]
WIN {dSI} UOSUd aye POOMUOAT
WIN (dSQH) uosig 37235 Paseq Yb
VIN Gos} wosjoy
VIN {IAd} 2177S] [eUOHESOA jeneq]
WIN (319) Sse Burures, 05
VIN (ANID) USO AA 10} OINABSU] 1105
WIN (dSAD) Uosig aje3g AaleA EPEMEYONYD
WIN {4M99) Anioel suswioM &5 frequen
VIN (NAD) UOSLd 3}2)5 Ejounua5
VIN (1¥9} uosud o7eyg eLRedye5
eee VIN (dL VS) 4 asngy souejsqng eI Wonieds
WIN {4OD) UEIGII0D ‘SUOSLg 8j2S$ eof
on VIN (10S) ouelos ‘uosug aye1S eof
YIN (vs) o}UeUEIDeS “UOSld 8}E}5 BS]
WIN (OWT) V1 uosilg a321¢ eo}
VIN (9YD) se]U99 UOHEeMIqeyow Po}
WIN (SIND) Auojo5 s,ueyW 25]
VIN (4D) 4411984 peorpay ED)
VIN {IAID) Ua 104 eynnsU; ey
VIN {199) 8ynyWISU] 05 ED
VIN (999) s9]U85 05 BD
{dS¥} UOSUd aj}e]g [eEucAy}

2o0nr .20-une 20-AEW Lonady 20-2 20-da4 2o-uer

Case 2:90-cv-00520-KJM-SCR Document 2725-3

L00ZAD PUD uonsadsul Aoeuueud YOaD

@ xipuaddy
Page 24 of 55

Filed 03/14/08

Case 2:90-cv-00520-KJM-SCR Document 2725-3

6

%S %9 %E %E BE

(ce=N)} (poyles JON) feIOL passed ywaojed

L00ZAD PHD uosedsu] Aseuueyd Yad

VIN dSM)} UOSLd S}215 ose‘
VIN (MdSA) Yao, JO} UOSIIg ayeYg AoyeA
WIN {99$) Ja}Ue9 uoeAISSUO5 ELS)
VIN {OS) unUAaNnD ues)
WIN (dSAS) uosud eyeyg AaieA euleES
VIN (ary) Ase 1105 uBAoUOg ral
WIN {dSAd) uosud aye3g Aare, JUESECd]
WIN {aSda)} tosh ayes Ag vested]
WIN (dSMN) HOS aIEIG Wey ul
WIN (dSOIN} UOSLA ayEPS YoolD ON,
WIN (dSAM) “OSU oFeTg AaIEA wey]
VIN ({dSI} UOSUd 3y2}g poomuoll
WIN (dSdH} uosud e235 yeseq UbIH
VIN (103) wosjog
WIN (IAG) any su |eEUOTESOA joneq]
VIN (419) Anoey Bururel 1105
VIN (AAID) Ueto g, JO} B}N}}SU] 6D
WIN (dSAQ) UOSHY a7e45 AoTeA ByEmeysNYyD
WIN (4M39) AIDE Sua”, BS Jee
WIN (N49) UOSUg 97215 EJouRUeD
VIN (T¥9) uesHg 97235 euyedyES
WIN (4L¥5) 4 osngy esueysqns e|WoWES
WIN {YOD) UBIOSI0S ‘SUOSL, aye1g ED
WIN 0s} ourjos ‘uosyg eye ED
WIN (9v§) ojusWEISES ‘UOsL 2}2]5 B54
VIN (owl) ¥1 uosug e]275 22]
WIN (09) 48]U2a9 UOREpHqeyay eo
VIN (S15) AucjoD S,ueW eof
WIN {4IN9) Ayioes jeorpew PD]
VIN | (ID) Ua 20} 31NIASU] eof
WIN f1o9}-63nygsU] 05 eD)
VIN (999) s9]U99 LOD eof
po | vn

(dS¥) UOSLd SEIS [BUSAY

eats

a Mipuaddy
Case 2:90-cv-00520-KJM-SCR Document 2725-3 Filed 03/14/08 Page 25 of 55

KHIEM T. NGUYEN, PharmD
26656 Hummingbird Ct.

Loma Linda, CA 92354

TEL: 909-796-3924

CELL: 909-747-2055.

Email: khiemng@ufl.edu

EMPLOYMENT OBJECTIVE:
To obtain a position as in Clinical Pharmacy Specialist that offers on-going opportunities
to interact with students, health care professionals and community groups with
opportunities for advancement. A Doctor of Pharmacy with proven abilities to manage
projects, improving efficiency of operations, goal oriented, and team driven. My personal
vision is to be a true leader at the forefront of the pharmacy profession.

EDUCATION:
University Of California, San Francisco School of pharmacy: Doctor of Pharmacy.
California State University, Bakersfield: BS in Chemistry, ACS.

LICENSE AND CERTIFICATION:
Nevada State Pharmacist Licensure.
California State Pharmacist Licensure.
Basic Cardiac Life Support & First Aid. (Certified BLS-C CPR)

WORK EXPERIENCE:

2003-Present: Assistant Clinical Professor, University of Florida, School of
. Pharmacy.

Working Professional Doctor of Pharmacy (WPPD).
Regional Facilitator: Duties include facilitation of small groups (7-14 students licensed
Pharmacists). During group meeting, students will be giving oral presentations, in-
services, taking exams and performing literature evaluation. Review clinical assignments
with the students during meeting sessions. Clinical practice model is also incorporated
into the meeting sessions. Responsible for the overall assessment of all the Students in
the groups which may include assessment of academic performance and clinical practice
skills. Assist students in obtaining appropriate clinical skills practice site; and also
coordinate and grade students’ examinations for the current course.

2000-2006: Assistant Clinical Professor, USC and Western U School of pharmacy.
Maintain and teach home healthcare clinical rotations for the fourth year students.
Participate in pharmacy curriculum development.
Case 2:90-cv-00520-KJM-SCR Document 2725-3 Filed 03/14/08 Page 26 of 55

WORK EXPERIENCE (continued):

2001- Present: Soliant Health : (formerly Cardinal Health Staffing network) Provide
Pharmacy Services ranging from Interim Management to Staffing Services to various
Hospitals and healthcare facilities including:

Interim Director of Pharmacy: Duties included pharmacy administration,
provision of drug information, poison control services, clinical services, and
outpatient services, Designing and directing all aspects of pharmacy services
reviewed and revised existing policies and procedures, provide direction and
leadership, staff supervision and any other pharmaceutical related duties.
Specifically, organized and planned activities of the pharmacy department. This
included establishing and updating policies and procedures in accordance with
hospital policies, standard practices of the profession and related state and federal
law; conferring with other department managers to coordinate pharmacy activities

_ and services with their activities and needs, initiating plan to motivate staffs and
achieve work goals, developed the pharmacy department’s budget and major
expenditures for approval by the administrator. Ensure effectiveness of pharmacy
department; this included hiring new employees with the administrator’s
authorization; assuring all staff is properly trained to perform their jobs, properly
oriented to work environment and have the necessary equipment and supplies to
perform their work; conducting performance reviews of employee(s) supervised,
disciplining employee for unsatisfactory work performance or violation of
department or hospital policies and also recommending appropriate salary
adjustment., interpreting hospital and department policies to department staff,
analyzing and resolving worker and work problems. Developed and implemented
procedures to assure proper drug therapy activities are conducted. This included
an understanding and following procedures related to safety, infection control,
and quality assurance and universal precautions.

Clinical Pharmacist: Procuring drugs and medical supplies. Dispensing drugs
and supplies. Providing drug information to patients, health care professionals,
and caregivers. Assessing drug regimen for therapeutic appropriateness, monitor
patients’ therapy, perform continuous quality improvement, documentation, to

- ensure compliance with all applicable state, federal, local laws, rules and
regulations as well as JCAHO standards. Specifically, performing clinical
intervention, responsible for on going clinical monitoring of patients’ drug
therapies according to the pharmaceutical care plan developed and
communicating the results of all monitoring activities to other healthcare
professionals involved in the patients’ care. Developing clinical monitoring
protocols in collaboration with prescribers and other healthcare professionals for
various therapies. Dose adjustments, continuation, or discontinuation of drug
therapy.
Case 2:90-cv-00520-KJM-SCR Document 2725-3. Filed 03/14/08 Page 27 of 55

WORK EXPERIENCE (continued):

2004- 2006: Pharmacy Supervisor and Clinical homecare pharmacist. Loma Linda
Med Center: Loma Linda Home Care Services.

Procuring drugs and medical supplies. Dispensing drugs and supplies. Providing drug
information to patients, health care professionals, and caregivers. Assessing drug regimen
for therapeutic appropriateness, monitor patients’ therapy, performing continuous quality
improvement to ensure compliance with all applicable state, federal, local laws, rules and.
regulations as well as JCAHO standards. ,

2004-2004 Clinical Discharge pharmacist. Department of Veterans Affairs, Loma
Linda, CA.

Performed duties of a Clinical Pharmacist: assessing drug regimen for therapeutic
appropriateness, monitor patients, perform continuous quality improvement,
documentation, to ensure compliance with all applicable state, federal, local laws, rules
and regulations as well as JCAHO standards. Specifically, perform clinical intervention,
responsible for on going clinical monitoring of patients’ drug therapies according to the
pharmaceutical care plan developed and communicating the results of all monitoring
activities to other healthcare professionals involved in the patients’ care. Developed
clinical monitoring protocols in collaboration with prescribers and other healthcare
professionals for various therapies. Recommend for dose adjustments, continuation, or
discontinuation of drug therapy.

1997- 2004; Consultant Pharmacist. Drug Consultants Inc.

Provide pharmaceutical consultation services, implement and evaluate pharmaceutical
services for the state correctional facilities. Also provide relief pharmacy distribution
services. Specifically, provide cognitive services ranging from drug regimen review and
drug counseling to the inmates. Tracking pharmacy systems which follows a medication
order from its point of origin until it is administered to the inmate patients. Manages
pharmacy department within the correctional facility as well as developing policies and
procedures, drug distribution systems and a variety of other areas that required effective
management skills; provide excellent communication skills i.e. committee participation,
récommendations to physicians, prepare administrative reports, interact with correctional
facility staffs and provide educational programs to the healthcare professionals within the
correctional facilities.

1997-1998 Director of Pharmacy. Optioncare, Inc.

Provided pharmacy services to patient at home who were discharged from local hospitals.
Patient oriented clinical pharmacy services; provided drug information and monitoring.
Specifically, oversee accurate, timely and cost effective procuring, compounding, and
dispensing of all drugs, supplies and related materials. Clarified questionable drug orders,
Responsible for legal preparation, storage, and dispensing of all prescriptions, legend and
related materials in accurate and timely manner. Assesses patients’ appropriateness for
admission to service, Monitor appropriateness of therapy on an ongoing basis.
Case 2:90-cv-00520-KJM-SCR Document 2725-3. Filed 03/14/08 Page 28 of 55

WORK EXPERIENCE (continued):

Maintained all documentations of all legally required data as required by all applicable
laws, departmental policies, and community and accreditation standards; including
controlled substances, investigational drugs, productivity and dispensing reports, billing
documentation and other logs and data collecting tools as required. Developed and
implemented procedures to assure proper drug therapy activities are conducted. This
included an understanding and following procedures related to safety, infection control,
and quality assurance and universal precautions.

1996-1997: Director of Pharmacy Services. Pershing General Hospital.

Designing and directing all aspects of pharmacy services reviewed and revised existing
policies and procedures, provide direction and leadership, staff supervision and any other
pharmaceutical related duties. Specifically, organized and planned activities of the
pharmacy department. This included establishing and updating policies and procedures in
accordance with hospital policies, standard practices of the profession and related state
and federal law; conferring with other department managers to coordinate pharmacy
activities and services with their activities and needs, initiating plan to motivate staffs
and achieve work goals, developed the pharmacy department’s budget and major
expenditures for approval by the administrator. Ensure effectiveness of pharmacy
department; this included hiring new employees with the administrator’s authorization;
assuring all staff is properly trained to perform their jobs, properly oriented to work
environment and have the necessary equipment and supplies to perform their work;
conducting performance reviews of employee(s) supervised, disciplining employee for
unsatisfactory work performance or violation of department or hospital policies and also
recommending appropriate salary adjustment., interpreting hospital and department
policies to department staff, analyzing and resolving worker and work problems.
Developed and implemented procedures to assure proper drug therapy activities are
conducted. This included an understanding and following procedures related to safety,
infection control, and quality assurance and universal precautions.

PROFESSIONAL ORGANIZATIONS:
American Society of Health System Pharmacists (ASHP)
American Pharmaceutical Association (APhA)
California Pharmacists Association (CPhA)

PROFESSIONAL TRAINEESHIPS:
Effective Supervision and Management Seminar.
Geriatric Residency: new approaches to pharmaceutical management in older patient.
Asthma Training Program: Certified Allergies Counselor.
HIPAA Training Compliance: 2003-Present.
Case 2:90-cv-00520-KJM-SCR Document 2725-3 Filed 03/14/08 Page 29 of 55

PRESENTATIONS & LECTURES:
September 1995 -1996: STDs and THEIR TREATMENT
Venice Family Clinic, Venice (a UCLA Affiliated)

October 1995: OSTOMY CARE
Abrams and Clark Pharmacy, Long Beach Memorial Hospital.

Nov 1995-1996 Pain Management including PCA pumps.
BPH and its Treatment. Long Beach Memorial Hospital.

COMMUNITY ACTIVITIES:
April 1993 Asian Health Caucus Healthfair.
Provided blood pressure screening and education for the Asian
community.

March 1993 Volunteer Student Speaker
Lung Cancer Project: Prepared and participated in an oral presentation to
high school students on the effects and causes of lung cancer.

Undergraduate:

e — EOP and student achievement Retention Program (STAAR) honor
student for 4 years.

e Member, International Student Club, CSU, BAKERSFIELD,
interactions with students of diverse culture.

. Member, Student Academic Achievement Retention Program.

° Program Director, Student Activities Club, coordinating activities
for the club.

e Senator for School of Art and Sciences CSU, BAKERSFIELD
Associated Student Inc.

° Chair of External Committee. CSU, BAKERSFIELD Associated
Student Inc. Implementing Photo ID's and Lighting processes for
the campus students.

SPECIAL SKILLS: .
LANGUAGE: Vietnamese (speak, read, write), Chinese (speak), Spanish (speak & read).
COMPUTER: Word Perfect 10 for windows, Windows XP, Microsoft Office 2003,
PharmNet, PharmAssist, GSM Clinical of Pharmacology, PDX prescription filling
programs, FSI prescription filling programs, Focis, Hann’s on. MestaMed , Meditech,
Worx, Affinity.

REFERENCE: Available upon request.
Case 2:90-cv-00520-KJM-SCR Document 2725-3 Filed 03/14/08 Page 30 of 55

2523 Duraznitos Rd.; Ramona, CA 92065
Tom, Schilling@@cox.net: (760)-440-9489

Thomas K. Schilling, Pharm D.

Son

a mA i am seeking a Pharmacy career position which offers an opportunity for me to
utilize my personal and professional experience. The ideal position will require a
thoughtful approach in the performance of daily activities, attention to detail,
- creativity, and an emphasis on a team effort in a clinical setting.

| 06/06-current Borrego Community Health Foundation Borrego Springs, CA

Director of Pharmacy/ Borrego Community Health Foundation

Contract position for 1 year to set-up and begin operation of clinic based
pharmacy services for all clinics owned and operated by Borrego
Community Health Foundation.

Included build out, application to State and Federal agencies for licensure,
and the establishment of appropriate policies and procedures to insure
regulatory compliance in all areas of clinic based pharmacy operations.
Required the learning and utilization of an appropriate pharmacy software.
package consistent with the goal of the operation to provide outpatient
pharmacy services which are financially and clinically able to serve the
needs of the community on a long term basis.

Service area includes the local Borrego Springs community and outlying
clinics, including El Cajon, Julian, Coachella Valley, and Cathedral City.
Obtained and began operation of 340b drug purchasing contract status in a
Federally Qualified Health Center under the guidelines the Office of
Pharmacy Affairs, U.S. Dept. of Health and Human Services.

Clinical pharmacy services provided in the support of clinic physicians,
associated providers, and medical staff.

Pharmacy operational and financial management responsibility.

9/02-4/06 Pomerado Pharmacy § Poway, CA
Community Pharmacy Owner / Pharmacist

Updated Pharmacy Software to achieve more efficient reimbursement
Streamlined system for achieving managed care approval and verifications

Implemented pharmacy compounding program under PCCA (Professional
Compounding Centers of America, Houston, TX model)

NCPA member pharmacy

United Drugs member for managed care contract participation and GPO
affiliation.

Negotiated several independent managed care contracts for my pharmacy
Daily business operations and allocation of financial resources
Case 2:90-cv-00520-KJM-SCR Document 2725-3 Filed 03/14/08 Page 31 of 55

998-2002 Coram.Healthcare San Diego, CA
harmacy Manager-National Home Infusion Company

Oversaw the preparation of IV admixture products, including TPN, Anti-

. Infectives, Pain Management, and specialized therapies for administration ir

the home care setting.

Maintained pharmacy corporate and regulatory compliance

Performance improvement management within pharmacy dept.

Managed clinical objectives within JCAHO standards

Clinical documentation management and performance improvement

Met all best defined practice objectives to improve operational efficiency
Restructure of pharmacy work groups and delegation of work objectives
Productivity improvement to achieve dept business objectives

Achieved triennial JCAHO accreditation with commendation

1997-1998 Coram Healthcare Bellevue, WA
Branch Manager-National Home Infusion Company

Financial and Clinical Management and budgeting responsibilities
Managed Pharmacy to operational, regulatory, and clinical objectives
Expanded sales to include key managed care and hospital based accounts
Successfully achieved JCAHO Accreditation with commendation
Improved branch EBTDA from —39K/mo to +35K/mo in my first 6 months
Case 2:90-cv-00520-KJM-SCR Document 2725-3 Filed 03/14/08 Page 32 of 55

994-1996 In Home Health Bellevue, WA
harmacy General Manager- Medicare Certified HHA
« Home Infusion program development/management within HHA agency
¢ Design and implement in-service education clinical development program
« HCFA regulatory compliance
e Achieved Revenue growth of 128% from FY1995-1996
® Sales and Marketing of Home Infusion Program within HHA

1988-1994 NMC Homecare, INC. San Francisco, CA
General Manager (7/89-6/93) Dir.of Pharmacy (9/88-6/93
& 7/93-4/94)
« Responsible for overall performance of the San Francisco Branch
* Strategic Planning and budget development
e Monthly financial performance reports to regional operations office
* Quality Management Program director
* Achieved one million dollars EBDTA for FY1991-national award’
e Exceeded branch plan for profit, revenue, A/R Management in FY1991
* Negotiated Large Statewide Managed Care Contract in 1990
» Increased net revenue by 150% in FY1990
* Achieved JCAHO accreditation with 2 commendations

1976 -~- 1987 Stanford University Medical Center Stanford, CA
Clinical Pharmacist (3/85-9/87), Pharm Tech.(9/76-2/85)

e Clinical Pharmacy practice: Inpatient Oncology, Neurology, Internal
Medicine

» Drug Information practice: Neurology, Oncclogy/Hematology/Infectious
Disease

* Clinical Rounds with medical residents and attending physicians
» Supervise satellite pharmacy technician to prepare chemotherapy/TPN

1985 Doctor of Pharmacy.- University of California, San Francisco
School of Pharmacy

1976 Bachelor of Science - University of California, Davis
College of Letters and Sciences

na I: Hiking, Reading, K-9 obedience training

Membership in American Pharmacist Asoc. (APhA), and American Society of

Consultant Pharmacists (ASCPh)
Case 2:90-cv-00520-KJM-SCR Document 2725-3 Filed 03/14/08 Page 33 of 55

Ht

a atried, no children

' Page 34 of 55

Filed 03/14/08

Case 2:90-cv-00520-KJM-SCR Document 2725-3

UIE]

%S (-14)

FE}O.] SplM-Waysks sjeuaglees

[EOL Sp|M-LUalsAS

BAOUESEA 12}01 HOE
UOSid ATES OOSENA - ASMA
USWoAA JO} WOSU a}B1S ASIIEA - MASA

uosUd aes AgeA BUITES - dSAS

ujuan® URS - OS

oue|Og ‘UOSUd aJEIS BO - 105

JBUSH UOPPAIASUOD BLAIS - DOS

1 asnqy SOuRISqNg eIOUIED - FAVS

DIUVAWEIORS ‘OSU SIEIG PLWAIIED - OVS

AYOeY Lod UBACUO TY - Ory

HOSUd 32S ASIPA JUESES| - dSAd

uosud a}e1S Aeg Uesied - dSad

WOSUd BES Wey YON - ISN

UOSU | SEIS YQ BNW - ISOW

V7 Uoslid S215 8D - DVI

uosUd E15 AIBA WEY - ISAM

UOSH E}E}G POOMUC!| - dSI

Los aJeIS pasaq YBIH - dSGH
wiosjod - 104

SINYSU] [EUOHEOOA Janad - [AG

UOSUd SES ASIIEA EHEMEHONYD - dSAD
Alpes Suurer.405 - 419

JqU8D UORPUIIGeYed 8D + DYD
URIOWOD ‘SUOSUd BIS ED - YOO

Aloe [ENIDSW BO - FIND

AuoloD s,UeaW BD - IND
USUMOAA JO} SYNBSU] LOS = MID

Lala Io} SRS] BD ~ WED

UdSUg SEIS BSujUaD - NAD

Alpes s,ualliog, BD [EqUED ~ 49D
SINYASU] HOD &D - 193.

4Q{U85 UO PO - 330

%O0L %l01
%SOL %S501 %SOL
Sort
%OOL %001 %OOL
%EOL EG %L6
%eeb %eoOl SOL
eel Meck SS LEL
%00L %00F %001
08 %Le %OS
%2Z61 %EGE %20l
6S) SBEL %5E1
%400/ %96 %96
SELL SOBEL %GLE
%s0l %8OL 80k
wes %ES %8S
%EG WEB %E6
%L01 %CE %t6
%E6 lB %L6
%ZLL | BELL
%SPb S1SL
%POL 496 EOL
BL rs MPa
%t6 %0 %08
% O08. %0Ob %O09

(Siva) | LOA4
eyeg
wereg Snes Zoady| 20-42 | 20-494 | 2o-er F
yubidoysg

2 SUCTHULOG QNSeSIA] anseey

uleW - Preoqyuseg Aoeuueyd

Lb Aebayeo apnadeeyy

Lo
Ww
S
bp es [ooo [os’Sre foo [oseee Doro [66"ss oxo [bers shosueyeosi “Sing TIRED SONYA My INISVAOICe YD] eapOre
J wer fea looses’ loo'g —"Tra"269 oro [t9'00P"L Loo [vereoz Sueby soe ‘sbrug cele “SONYd Hy INISVACICd | sovOrE
vy ya [e00  [eot0LF ero [PO LLes roo [ee 2s's ero [oo ros Sweaty smKuuenuy <sbnig SeIReS “SON MV INASVADIAYVvO| porOre
e “itr [ooo [ooo azo [zoesler boo [zee ogo [ooo SOHEISOWEH “NOLL INOWOO ? NOLLYWHOI dO07g|91220z
oro [ao"o eon [e9"9) ooo [ace oro [oon sueby uredaynuy ‘NOWVINSVOO F NOLLYWHOS GOO 1d|s0820z
co wetl- [ooo [2zpte aoa [sr's6e ooo [al Zsr oro [ores Sueby sbajsaliotiey! “NOL INV F NOILVYWHOs GO07s| corde
zy lie lesvereze [rel lezeasoec [tel [zelesvoe eri [soiipesz ueby ayedmeweH “NOLLVINDVOS ¢ NOL VINNOI GOO 1a] G0sLaz
sessot [000 [ss"ebL zoo [ep eaz'e zo |Z eee'e ayo [er izz Susby Sega “NOLLY INDWOO ¥ NOLL VWHOS GOO7a| bezL0z
“ae- [ooo [sa°ssL aco” [sr Loz ooo [saza oro |rezpe silenBeoonty “NOLL INOVOS ¥ NOW YWeOS GOCTs|sleLoc
ha ‘mast [ero legezs‘el  [eoro 2 sez soo [et4s2'6 soo [serore Svoymedelg UOJ] SSoig SWSUERUY “NOLVYINOVOS 3 NOLLYANOs COO | roe00z
5 “as [ooo [oro ano [s0°sLS coo [ao soo [acco : SSALLVAINEC COOTg|[L00081 |
_ wace- [ooo [ooo aro [sor co Jove ooo [éi'98 SNOBUBIOOSINN <SONYT SINONOLNW[Gozse
elo [os err'el 400 [a0"0a2"L co’o__|ao’o oye [aco SUBXEIOY SHSM (SINS BURDY AIRED “SONY SIWONOLNW| PoozeL
Pi wie [LO [sore zy eo ee eee hoo [oresets 22D |perderee SUEXEPH OSA IEIENS “SONY SIWONOLNWocozeL
yy oz [zoo [ar lege oo [be Pelz zoo [PL sare zoo lsreeszZ squeby Supoig oBsaveipy anfjol ‘SONHd OIWONOLNW[O0a1Z1
rT %SoL [200 ar ssec Loo az°Sas'b zoo [Ae Pees 20" PS PoR Ssibaby Siblelaipy-d @ O anAClpeduaS “SONA SIWONOLNY eleleL
wile [eel [prozezee [pre lerpireze ez lsossetze [ete [ersplroze Ssnoby smeuapyg sMjoweduks “Sonud OINONOLNW|Boclel
‘mene [00'O [28° r6S foo [zz"ea2 oo [ee par poo ae Ls ssuobiy sihieuaipy- ania ‘SON SIWONOLN|[POz1 2)
<= sor leon [2s'206'e evo [ss*rze'se sro les trols roo [parese'o8 syaby oleuaupy opauuoipeduks Sond SINONOLNY[abelZ)
wre [So [lzeeée [sro [sé zas'oz Ze0 jee eases ero  fecder'ss SoPOLISEdSyLAy/SSIUNESSTLLgLy “sorBleuijousAU “SONYO DINONOLAY|s0e0z).
ye [ele [oo'zsz'eh elo [zr epe'2b elo or rocer ro [az Lab'oz SAE iret NSEEE Suaby UEILOSUn Edguy “smeUICURAUY SONY OINONOLNv| Pose!
iy [203 [bb 'gbe'bh soo [Le005'6 oo festez6 soo [zg vel 'S ene (soiBiauyoy5) Sopsunojedukseed SOMO SINONOLY|apPoe)
La wee leoo  Jesziess [eo [oxsze'ver  [2z'o [pesos ttt [ero lee ees ett ace i a SLNBOVY SILSVIdOSNILNY|O0000).
wer [zoo [pi psez Loo feeeos' LOO fas 262 [Loo [ze°erz"L a SeAeuT fly AUN “SALLOaINHLNY/oDgsa
iO sage [po'o  [ab‘uz’s soo [oo'sri’e bho [£0829 poo [assoe'e SMCALIETGOSIA *5] ity “SBAILOSINHINY|Z60E8
wee [200 [ripest eoo [zs erz oo [ZL veo e eno [teroorr SEURIEURUY -sjeozoadgliy “SSALLOSINILLNY|@00es
abeol [OT |b oze aco” [ovo goo [oo"re ooo joo'o Sephigouly *Si guy “S3AILOS4INHLNY|Po0ea
oo foo ovo foo'o aoo_ jooo ooo fone SRosue|/SosiW] SIRAGUY “SBAILOSINHINY|26e18
L— “tb [ise [ioereen [peo lerziezs roo jesers‘oo. —[ig'a les"9e) ze i SOPROOANN '® SOPISGRONA) “SINGLY “SSALLOAINHINV|ZEeL8
“et [ooo [o0'e aca {oa'o ~_eo'a__[arze zoo [se-ose'e me ie : SONA] SSEPILIWEINON “SPINAL “SSALLOSINILNY [92919
wee [ioe  [reeereie  |soz_ levecseie “last [eovesere [art (Lezap'oze i SUCHALeILY “SIENARUY “SHALLSANLNY[OzeL:
‘bl Jebel lercez‘eve'c zr'z. joceecess: |ieel [reer zsel [srer [scose ses) ea : SEMAOKAOUY “SAALLOSINHLNY [80818 |
%ie-_ |00'0 o9"a6e a0'O Sso'sét aoa | £r'Lse ooo ce rec FORERRSOCo es ety SNOBLE| SoS Sfeuseqoodwguy :SSALLOSINMINY [2591
. wee [sia jergeee [zea [seres'oc ZbO [ss ooze Blo [ae 26a°2z F i Squeby sisonaiaqraguy “smuaeqooiuguy “SSAILOSINMLNY| POSH
‘ee- |[teo [pssazec [eso |srzas'6r aro [Le ces'99 eco [eg zarss SNOSUEOSIN “SesuryAUY “SSAILOSINHINV|Z6ple
ooo {o0"e ato {oa'a aca [ooo ooo foo"o S@UIPIUUKG “SIeSUNIAUY “SBALLOZINMINY|Zep1e
seple [hoo [percao"t aco |precrs Leo jes'asi) Loa [Sc°6s0"1 ; Seuatod “SeoungUY -SaALLOSINHINV|acrte
oo’ _{o0’o ooo ooo Loo [as"6e8 oo [ooo a ata . SUPUOOUINOS “SSALLOSINHINY|SLPLe
Le wei jeeo  zeezoes [era feezi1'99 ego logerses esd lezosase BSbesemaeed sopzy ‘sedunquy -S3ALLOSINMINY|SOrls
i 6 [roe [s0'zL9'9 zo joceeroz bro [seya'ra  joc'a [it 'zes'es IER ‘SeSUrQUY “SSAA ANHINY| Pople
J wer ico [yb'err'es bro |atvro'z9 eco fae oze'zs geo fsezee'es SNOSUE/]E0SI “SONOIGMIY “SSALLOSINHING|8zels
Oe _jeo'a fj Lo’sso's soo [aree.'s go [6e-259°o1 soo lerezse seuipoenal SSonoignuy “SSALLOSINHINY| Peels
! MSE {OL jesieueah oro [ze"eeL'st ego |roez6'pL zig [ze 269°2b SepeUayNs “SomoIGhUY “SRAILOSANTINV|OzeLe
si (6zo felolsy [eso ezsec'os seo” |sozea'ss zro_ [zo'e/¢'za SSYO}OUIND “SINoIAMY SAAFOSINITING| St 218
oS ws |reo feorsec [exo ler eze'by O&O [FL'see'Gr cco [le ves" SUyIUS) “SoRoIANUY “SSAILOSINGIINY|9Fc18
or [ho fee 808"S) Le eer 2be"oL ab'o lor'ves‘ec gz0__ [sages Ze SepleoeW “SogoQguly “SHALL SSaNPIINY|ZLZ18
! -[ %pi-_Tpo'o__ [ozers's zoo [steve Poo [eo 600's soo [aeesh's SWRPET-A OSIA) SSOHOIGHUY “SSAILISINHINY|20ZL2
‘pe- leva [2i'seo's, ovo [so'res'rl oro [es‘ers’st ovo [ercre'p. suvodspjeyded “sonoiqnuy “SAAILOSSNGILNY|90z18
~ “ot _|so'o fps'ver'a sro [sr'esr's soo [ee’eze's 900 leorors Sepiscos|bauluny “sopoignuy ‘SBAIZS4NHINY|ZOZLe
EY Melz 1200 [osolgs oro [Lb 2t ooo josee boro [ae"s22 SIqUINRUY “SAALLOSINI_TLNY|00808
= wer tro [eeseszz [2G [as eoe'se ico |eocze ly eo [SP LZ Te "G8e) PUE _“SOHUC SNINVISIHILINY [OOROr
he yse- food ee Ls ooo [ee ble Loo |z6'Ss0"L oo erecet SMOUBYBOSIA! “UES ISL. ‘SOAUC SNINVISIXIINY|Zehor
brpe2'6 Soo lezsrs's soo ° soo Saageaiag auiielkdold "Wes 18) “SORUG ANINVISIHILNY)
ee Lio'r 200
ar i
N % $
D_| tony | AS 5
roa SPAS wee, Bayow 20990899 | BAyow zo daginr | Bayow sounpady | Bayow sosequer saHy) 40 oanedesouL
MONKS | as

Asobayen onnedeuay, - preoqyuseg Aseuueyd

%ge- joo  [ZseLL oso eZ 2eb ooo | LeceL Ooo [fe Ph sSyueby OUNSOOUN “SONV WE MALVA/OlNO TVO/e L513 [000P0r

Spi [ooo — {se'te9 oe'o Lory os'a  [sr'eze oo'o —[#e'o8h USA (OS BUREN] “SONVIVE UaLLyM/OIUO TYoMLoa /ocecor

“Ez [so forerl'ce rio ier'ogs'oc eto (£908. Se gto fas"ese’se sonaunig “-SONV Te BELYAVOINO WoLos a qggcor

J “oOo {ies Isees'ze StO  [ee6L6'se iz0 [2g e2e'er zo [ee arz'es Sweby doled “AON IVa HAL OO TOA Oa Ta /oap2or

7 se fes'd bp'S00'06 Ws'o feessa'zs zs'o [pe teo'ze rea [pz‘oze'so SUSby SUAS Sedsod SONY IVE HeLYM/OldO Ivo/MLO 1 /6rehor
= %0z [lon {bo'286 Loo 1S} 606 Wo [eszert koro [zeroes swody Bunowey WnISSOd ONT TWO MELLAVORMO TyoRLOS Sle
~~ %5E 120'0 OS"SS6'cL 2o'0 L665" LL soo [6.6L LoL 200 [sr 6es‘oL SUCQEJECEd JUOWESEICOM SONY IVE HALYM/OMOTYOMLOS TS 00ZL0r
tO wee Ir0O  (6S'SL6's eo les'reo's eco [SL Lose soo [ed ero'r SUUED MOJO] RROWUNY SONV VE MEL VAIO TY O/H 93 73 [O00L0r
“91 joo's |Z. ‘ses ooo reo ooo |r ere ogo [gece Syaby BURIUIPYY “SONY IVE SaLVAVOIdO Ivo Loa 1s |OOBOOr

ay ooo = Food oso | joe ovo [dee ooo foo Sueby SUDO “SONY IVE SaLYM/OIdO IWORLLOS 1 /OOPO0r
co SS joo" 26 2 ooo /esGlz ooo = [Sries ooo [sees ISN DISOIOLYWHAC-NON HOS) SINYLOSANISIC/oo00ge
o ooo fooro ooo [ooo ooo [oe ls ooo [ooo Hd JUaWOD se0sJ F SULT) “SINFO OLLSONOVIC|pzeege
‘ler j00'd g9°8t Ooo |Se'zi ogo |S5°96) ooo isz9 Pool {N90 Us UOD saIe4 F EULA “SINS SLLSONOvic}ozeese

ssi- joo oo odo Lie oso [ere oo'o [ooo Sauciay WaIUOD $608 7 OUUN “SLNIDY SUSONDVIC|ZLe80¢

See foo'o ‘(zl ser ooo Shear ooo [eo'ese ooo [eozes “DSA JUOWOD $0004 F OUUN “SLNSOY OLLSONDVICOoeEgE

Sr lio les ben's ero. fés'soz’6b eco [ee sse'zb jezo 22 P20'OLL SISOMUBGNL “SLNADY SLSONDVIG|Oorege

WY re [s0'o sP'sse'th Po"O OS'ZLS'9 goo | £psee'eL soo favog.'s AydeBouebwesy “Si NaSv SLLSONSViCjagesas
ooa oos oso [ooo oc'o  fos’esé ooo foae ueqauby pL SLNIS¥ OLLSONDVid[daoede

a ood 00's ooo fze'ee oe'ofoo'os ooo fos‘o SIABID ET W SLNIDY OLLSONSWIdjooesse
kK 00°a o'er os‘o fede. oc‘o —fooo oo‘a “ foo‘o uogouny ABUPIY “SLNADY OLLSONSViC|ooorse
Seppe loge joe oya'oS Lo [pe ees le sia [resed'ez bo [serves ee SMIKW Saeqeid “SLNASY OLLSONDvId/oceese

‘roe [ooo fo0'o ooo aeeep Loo jeesea ooo lesz ‘Quepiynsy| (aowEDY SLNIOW OLLSOND VIC] OorogE

™%eL [o0'o —_fo0'eL ao"a LEGLL ooo jos2e oes jse'e9 SNOQUBIROSIA “S LNA OLLSONDvIG|ac00ge

ii [ood ke'sz ooo [Fes occa fsgse ooo freer SIN3OV T¥LNAQ|a000re

W 9 [oso [ee'eog' 2 zo L9°60s'9 reo |iz rPr6'e9 Zoo es ez'os SNOSUPIEOSIN “SINSOY SNO[O0z8az
Ee [LL Zosel'et) (80) zl 6eb'/9b 160 [PS"OPL'erl seo jeysao‘erh S]swoby UIUa|ag BAqsaas) Sweby aumIDIUAUY “SINAOY SN Beckie
— wet [tbo [zh sbs‘Zb oo _[ss°SLo'st S00 {Ll 69r'eL ola [Lo ser's} squaby SUPWUIGLIY ‘SLND SNO[00ez8z
L- [peo [es erl er ro _ [t'sos'es alo fel ere ve tee [sl besae SHOSUEISSSI <SOQCUdK/eAnEpESPMMUY -GINIOW SNO|esresc

%oL [LOO eg'62o'L zoo [Sh isr’e wo [ze°eor'z zoo [rae Lez Seuidemepozued “s7qoudiL/eaRepesAiepuy SSINIOV SNO[abezee

‘op, [tO |b'Z80' Loo Lesal'z 10 [ZO L86'L Loe feeoss') sayaumiqieg :sogoudsjyeagepaspydjopuy :S INJOV SNO| Fores

A ‘oll [oob [sity ooo [ézsbt oo'o _[eo'saL ooo [oz 6P “DSH “SURIMURS fesqeues y IWSay "XasOUY ‘SINSDv SNO|Z60z87
A Sepz- [ido [SS bSLTL loo [evezoe too [te eez'h too [Sires i SOULE SURLY “SUEIMURS faldeiod @ Ikdsey “XaouYy “SUNIOY SNO|pooesZ
‘i leeze lerpooesns less liguecer’s [azle lezoorsios [asc [poessersr jes 50] uy sswaby agnedaicioliis| ‘SINSSY SNO[s0slac

AI %be- [és'¢ [Serr rss bss [se"col ves ase leeerl ‘sss Lire |zesrozis és Suessaidepquy :splaby opnedeiapoipssd ‘SINSOV SNO|POoLac
wet [fee fegieclert legs  |ezeer‘ecor': [trz fesses'eor', [ors feevestirl & SNOBUEIISISIN “SUBSINALOONUY ‘SINSOW SND] cecLa2

— Soéi [00° beble ooo O00 ooo jer Ls ooo lease SSPIWIURSNS ISWESINAUOAOUY “SINASY SNO/Geclae
id) OL [bso Se veo Bs Sr’ 82°8¢8 89 SPO |S0°Ses5o2 fro [ecces'99 SUIGWEPAH “SESINAUOIDUY “SINAODY SNO[ZL2ZL3c
— “elz-_ |00°0 6S tr, ooo og'68s co'O |se"ezé 00°O Pz'869 seuidaze| “SUES RY -SLNSDY SND/B0Z Lac
= ‘ie [SOD Seebe Poo dp'r2e's £00 | S0°SL 2b £00 [pe"ZaL's SQEINKUED -SESiINAUOOQUY (SLINBOY SNO/P0Z Lez
= YGSb | -0'O ey'eo2't Lo’o Ge 9eL'L LOO [LP990'L Ooo [Be Sle S0oLae
I Yoev [LLG Sb'6es"SL oL"o PS"bPS"eL S00 [6b OLE 60°O [BS Lee'FL Z6R08E
ry "9Sb |00'0 os'ZoL ooo ce BOL ooo [rss ooo [ér 25 RSLoby euled HO -SINSOV SNO|clsoae
3

mont |z60  |6rZeL ‘rl tea [ee erred ero [sesee‘ozl Zgo  [ee0ae LOL ssiueby seo ‘SINSDY SNO|so80aZ
Sueby Aqjewweyurquy |epiosajsuaN ‘SINADY SNO| Pose.
fy eva) “SINAOW SNO[coroEd

MODE WY (BLQS}SORIY) PIOORICOOMVOWIA “SHOUORIME Swe *SONHO AVINSSVACIDN VD Oecers

Meee [POL 66000°291 ebb Prose cZb Seb [preee'roe SP'h ELL} GLE
‘BE [10° ZL'S6o°% Loo 86 oci'L Loo fee eS8'L bon —([sez6ge'L
Lb [BLO So EE7 SL obo Sppes' zh 600 [E0Ser'PL Boo [Seere'e

4 ee [ec Sl pée'te Po ago2r LZ seo |os"saz'z9 Peo [BS lee Ls sysabeuny joaney IpuisumoIGuy “suoLqYU) SyWwe “SONG UV INOS VACIONVO|abcere

a ME [920 Lo poo Or 826. bb 20s'6e te0 jor lsa'es reo [Se’SPro'ls SICHAIUL) 35 “SOUORIO SV “SONY HWINOS WAY YO pocerz |
Py? ‘er 600 Be 089'EL £50 SeSre' OL 800 JOSSLS ZL g0°O [rh OLz'LL SHA -SHEHRO|G JEUWEYS WARIFS “SON av INOSvAOICNYS|cba2be
— OL |Z. 0 ee Gl bbb 20") co'r8i‘ash 2c" ee‘s0s ore bZ'b 20°OL2°25E SeUIPLACOUpAUIC ‘SHE POIG IBUUEYD WADED. “SONYO YWINSS VAIN VO anezee

or lero BL'S6s Po igo SE LEL'S6 PSO | se aoe eso |[soecc'sa sueby Sunpag Sibelapyd Sonud yy Inos vACIOdvolotrere

z Ie (800 SCPE ch £00 e2e7s'Ob SOO |P2L95'6 goo [#89568 su UDOld SIMaVePY Oo “SONY YvINOS vAOION WS | Ob0cbz
o0'O 80'S on oo0 S00 000 ooo |oCO siliaby Gusdlebs “SSndd Uy INISVADIONVO[O0eL Pe
SL [LOG Ss'602"2 100 P6'se2'L L0°O /&2'S6g'b Loos [eere'h SnOSUE|SISIN ‘sjueby Supeiposea “SONG MY INISVAOIONVO|zécLee
NI “See (10°C ay eeo'l Loo SeSeb'b 100 [SeSzb 206 lees SKVAWUT ese sepoycsoud -SWeby SuReIPESseA “SONYA HV INDSVACIONVO|cleLbe
LO %e (S06 cL Oe £ soo ea ores SOO jé0°az0'e [soo [sh 002'2 SRIRIN “sweby BugeipeseA “SOMad SVINISVACIOMYS| Boz Lez,
C) 00'D PO's oO'D £022 coo jaco co"o ooo SnOSUETSosIAl -sUeby SAISUaOGAH “SOnwO dv INGSvAG|OuY5|eBe0rE
i) ‘als | POO 00°205'8 £0 Se Or'> POO [ee ees 'S soo [t0°Stt' SIQBIPCSEA RSI] SWaby eaisuejedsH -Sonda avInosvACIGdWolozsore
~ EL [LLG ge'Bes'ZzL LO Se'pzo'2b Elo [Ze ELb'oe eb°G bP PS6 GL sysuobiy-p TaqueS “sueby exsuedky “SOnud Sv InISvACIOevo[Slaare |
Cd %z6 _ |Z0'D OS '000'e +00 eS Lbe'S POO jo ree's soo 02927 SNoSsuEysoS!A) -sWWeby Siwapediiquy “SONY yy INISvACIO yD ces0rc
ee |roe £1 0S e9¢ eo £OLe'sts go's [CLaso’esz Z's CLOG EBL SOUCIUG] SSePNPeY YOON Suey sidepedimy SON HANDS vACIOHWO|B0S0FZ

eee) SSATEALGY PHY OE sed Ohuepediquy “SONY SV INISVACICYWD|SOG0rz,
iat ‘SVORCHU] UONdiosy |qua\sejoy] “sweby Swapediquy -Sonyd UV INISVACICU VO] ScaOre
aD SueRsenbas ploy ag sway suwapadyquy (Sond svIngsvACIayo|Posore

‘pe [OLD [85'80e'SL LLO ebeh Sb obo [or sis'st LLG [es bos's
SS (600 ZS'SEL'PL bLO eo seal LEO [Qe PZS'SL OG [OS Lab's
ore |0Z'0 AL'PeP'Le FOO S6"LZ5'S ero lose/e'e coo [hr 6re's

(SsHy) Aobeyey synedesouy,

1
5
By
AI
(arr)
aoa 40
eo ‘oman

yabe, | SAVOW 29980990 | Bayow iodesinr | Bayow zounpdy | Bayow so semruer E

AoBeyey anadessy - preoqyseq Aseuveyd

‘al [soo [er iser eco [Ls oee'r roo _focoso'2 [soo Joe yee'2
%i- [poo _-([98°SE0'eL. oro [keels pe tho [ae's99'2b [pro [ae eos‘oz
“699L [2b Pe Lese9'6r9 LOL S2°Pa0'COL €6'0 O2°ELS'Srl [e's SE ALP'LLL
“or [ozo [oszerle sho jogieeee Boo |b 6soet feoo jes Zez tt
mes [oo'e _foo's wo [krole ooo (erste zoo jexiase
oO ‘%z9- [oo'o {ooo ooo _—‘fado eo [Ze Z0L ooo forée
0 tL [LOO 20 O56 loo j6s806 too «(Stole [too |strrr
%t [loo iSitece Loo a0. 2be 1b 100 |leere jeoo joe alsz2
oO ~a- [60° lee pLo'rL oo jes taz'or eco ([Srsrrat 200 [Zr ben bb
al leoo  lzresze goo lercart wo fore eo.0 | La°s6o's
mer [eo [ze sree boo [Ze Le07 iwo [Le ozs) woe foscez2
7 “i [Loo  |zecra ooo {Lress ooo ler ee ooo far 208
@ “fe zoo  jos'see’e so'o _[se'e2s's soo [sapere soo _fas’ezr'e
fo) %6- [oOo _joo's aco _jezars acd _[SscoaL aoe jozrs
“ar |co1 lrreseas: |ze0 focsea ze. [pot [LP Sieeal Lot fae sez 1st
‘el leo [se6le rh eco jeezedet eo | Zech ore 6a 2681
%6z [O0'D [zoo ooo _—|[se'sor ooo [ox'eer ooo [esse
‘iol [Zeb [ze eset (Shh zeresil [sot  |[arzezéor [sea fer ose'er
oo” [secs ooo Po Ose aco _|S6S0e ooo = {S20Le
wr [elo [OLzLa lz elo Se 660 Oc ea [rrrse oz slo erro
— %e6l [000 [ooo coo —«fse"s6 oo __—‘fez age ooo [ze 6b.
Sb [OOO [SL ESP too _‘([sc208 too joress ooo faz zes
ooo [oo's ooa ——«joo'o oo" fac'o ooo jan
nn ‘wet (seo {za'eoo'Be ezo  {Zeaese szo [ee scs'es éco [és bia'es
lO %F [soo {Orel roo jeszozo roo |b sas soc [bh Pos'e
L mee [loo Sl vsie zoo [LP ZLO" wo lereerz 00 janose'e
= ‘ere lege jecess'scos [pez figisc'aty lave |scrra'sre [rez [Lovseo'ise
= MIL [ooo [Os Gl loo [Lese6 ooo [ecele ye'eaz'L
%es- [ooo  [roozs- ooo «(odo aco [sz 60l- PL S89 b
‘mas (Seo jeaorrse zzo {st oos'ee Lzo [so°s9r es a2 18a 6
Mee [OG jer Ses boo fse'zo02 Woo _jeeeoa) BE PPS L
~ se les. izeccoes: ere [erocrees zee lécersbze [Sc (sree. see
. ‘sett {zoo foz'res's zoo [roese’z zoo lol rere 200 [Sesa8'z
~%eo ooo Jeo ser ooo forsse ‘ooo [6L'ebe ooo [srere
IN abe [200 [ez oath S60 |rrrere soo zoos Z0°0 _|Srese'oL
wSioe {LOO loz del b Wo [eresz) wo |zesesy woo [or ise
INI ee {O00 JP 6b2 ao |roesee azo ([stboo'es leo [er ese re
a wel- {lO [sa pse'b wo fareset Wo [seerey loo [Leeszs
[cK Yri- [000  9S°ob ooa ([os6 ooo [aes ooo (SS tr
OD ‘az lzo'o i loe'zoz's zoo [sere zoo |sresoe coo jlagree'r
— %LZ-_[LO" So ost L ooo —«sjoe'yza Le'o _[azeso'L Loo [et brs
= es [ee oz 9052S 6c0 (scrote pro [oe szc'Be sco jeraezg'ze
OQ ik [00 foresee) wo [zooec) Loo [ersrst (loo ([Seszo7
oO Ke [roo secre ‘Teoo [Sr iss's coo [ss'ezo's joo er l6L
oz BOC  Jls es. th 2e0  [4tgea'oL 200 [Lesage eoo [Seba bt
‘Arr {S00 jez c06 2 roo. | [se ties leo [or Leo's is'o (| zsvgea'sr
%ro (s0'0 fee sees soo [evores Soo [esstes oo estar
2 ‘erie jooo  lzz've ooo [PS SOL ooo [ePsoL coo ~—«[SS PSL
az |00O joo ora loo |rozsoy Wo [ee zis ooo —[as‘oss
%00l- 100°0 ee oa —([00"o. ooo [ooo ooo [ooo
Bsr (00 FSi zpo. wo faeeiie wo [Zs ore boo [S90 E
Oe [000 |e ite ooo sf Le eee ooo [sega ooo [Se ror
ool" {000 food oro [ado ovo [ooo Woo [ooo
cz Mr. (Lod  |OTLOS | Wo |[seZsor Wo [22 oort WO [sseert
KZ %90l [900  feg‘sez'e Z00 |B ere'oL 200 [se bse bh 900 ([skes2's
t wel ipso [i ez ce eo.  lezreosest [ral lesozs'osz fzst [as'eso‘sez
“ef HOO ferries ao |zeseze eoo  [escoe. zoo _|zeessz
Nv see _f00'O —[o0'OLL ooo [ee'ese ooo [ee ter Woo [assis
} %lt- foo'o oo'o 00°0 Ore? ooo [os zsh oo’ [R0'D
%l-_izbo [eo porze Zbo [reo se ZV0 eq lesiz go [or egL'pe
; er loo feszess soo |recese oo [asziee.
> %lZ- foo joo ze ovo [oles ooo [Seebh. ooo [2sSsh
oO 66 170 Zo BoP Lt roo | le'ze6'S soo [Se bres elo |za229°6l
Eh tore Becll wo [2525 Wo [Sehr ooo = fzsaza
ME 1290 B6 yeo'S6 azo _|zezre'e.t [so |reece'oo:  jzso [ae sessel
-" ‘es isa _loz'ssr'a coo  [orsier eno [ereerr roo [6c 2/99
N 009 «(OOO ooo [ooo Wo [25 Pret Woo ([sazerb
SA
Dag | (AR | Soa 20
miea| 5 | yee, Bayow 20230390 | Bayow  2odeg-inr | Bayow zounpudy | Bayow 20 JeW-uRT
WBdoys
: LOAZ
Sia ER RR HE} J0-F1ONS MOYO,

UShShugSUGS Jepuy) - Sau AA

Aobepe agnedway,

SIXAgUY “SNVYEREIN SNOONIN ® NS|sor0rR

SEUOPERUY VSNVSOWEW SROONW 2 NIMS rorors

SSNDSVA/O02 08

$dloxo.L}/oo2008

SWAYSS] OGrbos

SONOLAKO/a000a2

OWyS.LNBYYd) SOLLSHISSNY TOO T[ocodes

Sueby pioainuy ‘SSNOWYOH|S09eR9

swaby plo, ‘SSNOWYOH|Posees

supsabdlg -SSNONWYOH|cocsso

AEpid “SSNOWYOH|coRzE9

PIOMGe Re “SONONYOH|D0Pzso

Slab SPAPGUSBOOA) -queby IQeGEIpIUY “SSENOWYOH|eL2zeo

SNCSUESOSIW) -SWaby oRaqelpquy -SSNOWYOH! cboeeo

SeLO}SUIpOZet | “uebly mEGeIPAUY “SSNOWYOH|scozes

SeaMALOINS -sueby ohedeIPuy -SANONHOH|ocozeS

Seplunbely -sueby onageIpiy “SSNONYOH|Slozes

sumsul cswoby ogageipnuy “SANOWYOH|scoces

SSHSLUCA Ups] “SSNOWYGH|Sstozes

Seplienbig iswaby oneqelpauy ‘SSINOMYOH| rodces

SOPSURUCLIALIY “sueby S9eqRIpAuYy -SSENOWMOH|ECOzso

suOygINU] BSEPISCON|SyD :seby ogeqeipnuy “SSANQWYOH|Z00z89

IVORY ASILOOY a -SSNOWYOH|clales

susbo48S ‘SSNONSCH|POSLaS

SeapdeckQuod “SSNOWUGH|O0el89

suabolpuy “SANOWHOH|a08089

SIPUELPY ‘SSNOWYOH]/O0r085

SLSINCOVINY TVISIA AAVSH[O000ro

SNOSUEIEISIV] “S.LNSOV TWNILSSINIOULS YO 002695

Sueby Uc eUMeYU-RUY iSINSOV TWNILSSLNIOULSVO|OnSa5

quaby sjeUnjold “SINSO” TWNLLSaNIOHLS¥5[on2e95

SUQRUL dung vod “SINBSVY TWNLSELNIOULS vo] SeRz9s

SWEPSWd “SINSOS¥ TWNLLSSINIOULSYO|Zee295

SHPUEERSed “SINZOV WNUSSINIOSLSYo|8cezas

sysiual “ZH ‘SINSOV TYNILSSLNIOHLS YS] 218295

STORIES ‘sohewleguiy ‘SINSOoY WNUSSLNIONLSYD|Z6zc95
SRIUOSE WY 40908908 ELH-S ‘SINSOV TWNLLSSLNIONLS YO) Ocezas

SOUILUEFSIUSUY “SINSOV TWNULSSINIONLSYO}abce9s

Sone ‘SLNESOV TWNEULSSLNIOULSYD1000c95

squeisebix] “SLNZSV TWNLLSSLNIONLSYO|O09195

Swaby SMIRIOUD SLNZOV IWNELSSINIOeL OOr1SS

S@Agexe] 'f SOARES -SINSOY TWNELSALNIOULS YD) OOZLSS
SUSIMMEURUY “SENSO TWNELSALNIOULS TO /000L95

squeby [eeQURIPRUY “SINR TWNLLSSLNIONLSyo[an80ss

SeqIOSpy 'F SPHEWIY (SINFO TWNELGSLNIOULS YS [O0r0S5

Swab snoeueecsif) -INSS/002625

SUOHSUOSOSeA (LNSS|O0ec25

saibied y SsuSEAANOW ‘LNS=/O08zzS

SoHEUPAW (LNZS|OGPzzS

SOROIA SLNZS|O00ceS

Sonelisauly e507 -EN33/o09l2s

SUOANIOS SUC] PELOD (iN3S35/[09ZL25

SJOUCIUU] eserpAyuy Siuoqie} :iNSS/0001¢S

Sleby KoyeuRIeyUHILiy SNOSLIEREOSIA ‘LNZS/ZSe0ZS

queby RoyeWWEUH My [epicleIsUON .{Naa|ocsocs

Spausiscopiog - (Nas |/sog0cs

SAAISSRIFAUE SNOSUERHOISIA, -LN5S|Z6r0eS

SIeIAgUY (LN33|0er02s

SRCUTURLY -LNBa|9LPOeS

SPEUEPRCSUY “LINES |Poro0Zs.

squeby obselepiny :1N==[00z0zS

SINSSY¥ SLLAICONW|OOPes+

SINVHOLSSdxS/00SLer

SYSZANSVLS TD LS VW ceOLSy

SHaISICOW BNSILONNST|PcoLer

SSAISSALILNYOoRdEr

SSWAZNS|0000rr

{ssiy} KoBayen spnedeiey,

fuoBayen siyjnadeiey) - pueoqyseg Aseuueyg

ebay synadeeuL

WAN
SINVINSYOOLNY| POZLOe

Salt WOLLNSSVWayHd] cocose

SS91A30|co00r6

SLNSSY DILNAadVHaKL SNOAaNY TADS IA OO00z6
SNOLLWeVesud NIAVLIAIL INA) ooszes

ALIALLOV 31 NIANVLIA/ Cores:

3 NIWYLIA|Doozeg
0 NIANWLIA/COSLas

2 NIA LIA COZLae

XGIdWOS 2 NIA LIA) CoBoRs

‘7 NIAWLIA/SOroge

SINYXV13e FIDSSNIN HLOOWS AOL YeldS3y| COSLes

SINVXV7SY FTOSNW HLOOWS Ad YNIENOLINSS/ Coe Lee

Sweby snoeuellessiW “SNVEGAGAW SHOOTIN 8 NIS[COzere

Wey USARSUNS -SNVHEREA SNOONA ® NS|so0are

YY SURUBWOIOSC “ANVHEWS A SROONA'S NMMS| FO0Shs

SRSEHOIEO} “AINVUSWGN SHOONW 8 NMS|Goccre

Suaby opOBIey “INVES WN SHOONN ® NMS|Sogere

SMSOINWSG F MepMOd D589 INVYEAGW SROONA 2 NIMS|Slecrs

SUBS} Old 3 SUBUGUIO SIFFA CANVHSWEW SNOONW 2 NMMS|clPzpe

SWEAICS JOUIO F SIO DSSS “ANVYEWEW SHOOTIN 2 NIMS | B0rers

SHUSLRUT] F SUORO] SEO “INVEEAEW SOON 2 NMS| rorZre

SUEPS Cd 7B SUESINWAL] “SUSIOW] “ANYHEWSN SNOONN 2 NMS|oorzre

sueliejeq “SNVMEIS A SNOONN ® NDIS|So0ere

SHEN Ole FP SUBINUNS ID VANVEEWEW SAOONIW @ NMS/ coors

SUAGUISY -SINVHEWEA SOON 2 NMS] BOZL Pe
Sojeupsally 290°) 3 SOAUMCRUYY “ANVXSIWSW.SNOONA @ NMMS/ Cosore

suey Ac JAuy TSNVHYEWSA SHOONA 2 NIN] COSoPe

S@AQOSJL|-NUY F290] SROSUB|AOSIA. “NVA SNOONN & NMS|[Zer0re

SOPHIINSIPSd 2 S6PHIQEIS “SNVHSWSA SNOONA 8 NMS| cl Pore
SPouNQUY “ANVUEASW SNOONN 2 Nbis|sorore

(S4Hy) Aofaze9 spnedesayy

LO

LO

—_ .

Oo

©

©

o

>

©

ou

©

©

—

t

od

7

©

©

OD

L

LL

5

BS ‘et | oor [er onesessi [oor [erie eze'st | on [sezze'ozrst | oot

- meer [eso |izorres  foso_ [er uzo'Le pro |ersipup 1600

Ly %6e [S50 seceo'Lor —_[9s’0 SL Sel 98 S50 [66'00'98 sro

. se (LOO er eho zoo [6rsees zoo |te’sse"s 20

i mee- [ero |Zs'ol0s coo |zeze1'p evo |zozze'r eyo

dy wis |zez  frgoeg'ese voz [leseoewe [lez [eraze’cae see

cK “ee eco |seciee eco [so‘asz’> eo [enseo’s 29°0

— apr [ero [oe ests zoo [sieesz Woo [eeesst 270

rs Me loro levee foo [or ree ood for Lze ooo

= viii [exo [sxozo'sr fala leeubebe feed [sosesre —sdao—([e sez ze

i Os [ooo |see8s too fares woo [42"Ls0% wag lez eons

el feco  |seeee’s eo ~ [eseses coo [le oer evo [si'pees
wes jooo |S ooo [ee'et ooo [ez aro lezen
swe [Loo [es'sae wo [eoseet ao [so 6rr't Lo [Ze psp"

ry “OL [Oro [sezorsl |éoo —fesezeet eva [zzove'en 030 [zo'zee"s

> yee [eco [zsoepoo era [eezeces lero [losoos: [ero [OL eto'es

A “ale ooo las cec ooo | hevste ooo [bozo ovo [assee

Ea %sajooo  |szear ooo [aero ooo [eres oro [ersoe

= ‘2 [ECO ler rers roo feoses's [roo __[eseze9 poo |zeies's

eB wel [S00 lerzsir2 poo [Peis [zoo [oa LZr'oL 200 [6s 200:

Z mene [Loo leoeée ooo [so'rpe ova [esas aro [sz202

c ‘is |eco  [Le'est'y jzoo__fos'ers'¢ eo |erses'r exo [ze ise'p

rR sepza [Loo [sere joao fis rsé oo [e¥s6s ooo -[Zo'e8s

NI Wis [Oo |reOLrl zoo lezarez zoo [esse 200 [skoree

eco face coo [oaro ooo [coro ovo [coro

sr loco [268s ooo [erie toro [eevee wo [ezse

ee [0 ley seth Woo [est Z0rF oo [OEE oxo [eeezz-

: “ep [ooo [riser ooo [hors [ooo [za trs aro [ez pez

a) ‘era [evo lee'sa0's oo lzser'oh soo [és pees soo [ee eso’s

I ‘et [pro |ssese Zz rho er ivee [ro fessesee [sro —([Ol'ppe ze

%ol [ero fee ree". Vo [se'pzesb Wo [ee"ass"Z1 Oro [ro Ley st

> wee [soo [sVeerd OO [es'6so'l oo [or aret Loo [e627

N ee [ero [rezapee ezo leg vsree zzolezooe're [ozo [et sza'oe
LDAZ SA :

| (DARD | paige

SUIS | ‘ese, | BAVOW 205800 | Bayon = .odes-inr | Bayom zounrady | Bay OW 20J2W-UeT
wEuders

£044

RSeSn

AloBbaye9 aynedeay] - paeoqyseq AseueYy,
Page 39 of 55

Filed 03/14/08

s©12:90-cv-00520-KJM-SCR_ . Document 2725-3

£09 dagsnr

Bay ow 29 Unpudy

Say ow Ose RueP

UOloNgSUGS JOPLIN - SNA

AoBayeg ognedeway|

(S4Hy) AioBeye5 opnedesou

Aobayey s1nadeay] - preoqyseq Apeuueud
Page 40 of 55

Filed 03/14/08

Case 2:90-cv-00520-KJM-SCR Document 2725-3

LBEOPHOAA

mekoceeem 9c 21 | ceo'el | 6rz'st | ror'oe | 2sp'sl | sse'oe | ces‘zt | z8s‘6L
| vas'sl | e62'ob Zoe'st | s26'6} | Gie'el | opp'sl | Les'rE | p9e'sL
7 69 lz | e662) | 90E'6) | PzaZL | sro'aL
zeo're | oss'se | sesoe | soe'ze | éze'gc

6re'et | soba | ogz'es | 66201 [ 2216)

vea'ze | seg'ez | zezez | zeg'ez | g0e'sz

toga | zeee | oro's | zese [| Stree

eas'er | S6c’ab g09'ir | cri'br | Soe tr | ée'se | pzb'Ly

ezo'sl | S6r'al szeet | sorol |- ese | sce'Zl |. pro'oe

’ 226'G2 Beg'oe 60192

268'91

"SUB Zi

bakze ooe'sz | elrsz | ¢20Se 66 PE

oivve [lesa | este | cerez | cooez | sere | ozete | sesze

Olt [lzeel | zest | degzl | epost | seqsl | ezzer | 19s or

vero | ese | aise | ogee | sipl | e902 | sige [ borg

pore: [ezipi | sizel | deze | cigth | seezs | eeror | eerie

wre | ese | sore | Sizpl | cece: } zzbel | sero. | eseat

segze |ss0te | deel | zcet | Glior | Socal | eco'st | serat

vil [seve [S283 | sexo | cero | sizo | coos | sens

i elpec | osele | cape | zesse | zorez | zeoez | s6lel | eoeeL
esvel | dori | spect | eet: | soot | sos) | szz'st | scebL

sogzz | rene | zoe | secez | isso | eselz | SbeZt | S2z'6L

e9ecc | nese | zpo'ce | aztse | opeee | eegzz | osgbe | eleoe

eeve | altace | vege | aleez | oseze | zeeie | sozee | peo

tseSl [zlvel | iecer | ere br | clrpr | coeel | rseor | corrl

tizez | lee | elese | ploee | oserse | Giese | Gores | clove

ere |eerit | sitor | sprol | ase | sage | Ses | e0ror

aisle | beo'se | ezoze | ozere | peeoe | czoze | cecec | Serle

errs [eowal | iszot | atezi | olvei | seco) | Poot | Garst

wees | 269 | zovl | sere | ezaz | plea | 8019 | ero

eex2 | corr | epee | eave | e26e | 2loz | esse

lea

(DiAra)
SHS
wEdeys

£07939

Z0-AON

aZe' Fi

van'ze

Sf a2

20-2

7Z89°02 .

‘UOHOMUSUOS JAPUL, - SULA

RADEULIEUd# XY SBRIBAY HOdD
UCSU 4 S}EIS COSPAA - JSAA
USWOAA JOP UOSLU¢| BFEIS ABIIEA - MASA
UOSLid SHAS ASHTEA BUIES - ASAS
UyUaAY UES - OS
OURIOS “USL SEIS BO - 105
JaUSaD uoeAJasUoD BLAIS - 3905
JL asndy souepsans eBlwWoeD - 41VS
TWMAWIIS ‘USSU SES BLUES - OYS
Auoes OD ueaoued PY - Ory
USL SFE} ABHEA JUESEAId - SSAd
Uosuld arg Aeg ueoyed - dsad
UOSH, S}e}g Way YON - dSMN
UOSUd SHAS HSSI3 FIN - ASSIA]
W1UOsHY FS 29-91
UGS SEIS ABIIEA LUBY - dSAM
OSU SYS PaaMuol| - JS]
Uosud Bes Veseq YGIH - dSCH
Wosiod - 1OJ
_ SINQSU] FEUCHES6A [ened - IAC
UOSUd SIEIS ASEA EEMEXONYD - dSAD
Ayises Buyuye od - 415
dajUad UOREWIGeYaY BD - OUD
UEIGWUOD 'SUOSUd SEIS BO - HOO
AMIDE [ESIPSW BO = AID
AUCIOD SUB BS - DID
USLUOAA JO} afNYNSU| LOD - AID
USIA] 40) SINBSU] ED - WD
UOSU SIEIS S|SUGUI4 - NAD
AIOE SUBLUDAA BD JEGRUAD - JAAD
aNAsu] UO BD - (95
Ja}UBD 09 BD - 909
uosud e215 BWjedes - Wo
Uoslid 3]2]5 feuaay - dS¥

; suoHUyeg aunseay

aunseatyt

PEOp OM [A907 Aypoes - preoqyseg AseuuEYyd
Page 41 of 55

Filed 03/14/08

Case 2:90-cv-00520-KJM-SCR Document 2725-3

CPEOPLONA

EUUPUdUde Seay HOOD

HOS SIEIG OOSEAA_- SAA

UStuOAA JO} UOSU 8735 ABIIEA - MdSA

uoslid ayes Aopen BUYS - dSAS

ujuand) UES - HS

OUEIOS VOSid I8IG ED - 10S

JaJUdD WORPAIASUOD BAIS - DOS

AL OSNqy SOUR}SGNS EILOWIED - 4S

QWaWEIOES ‘UOSUd afe}S SILIOHTED - OVS

AOE LO UBAGUOT MY - OFY

USSU STS ASIIEA JUESESI ~ dSAd

UOsUd ayes Aeg USS - dSad

UOSLi BJS Way YON - dSaIN

UOSUd S}E}g 4681) a(NIA - dSOW

VV ]UOSud aes FO - OV]

Uosud a7e1¢ ASIIEA WS - dSAM

UOSUd SEIS POOMUOY - JS]

- uosud 3215 pase Y6IH - dSGH

wiosjo4 - 104

SANIRSU] [ELOPESOA Jeneg - IAC

UosUg aJEIS AaleA ElleEMeyONYD - dSAD

Ayes Buruyes yoo - 415

Jajlad UCHeWIGeUaY ES + DHS

UBIOBIOD ‘SUCS S}e}g EO ~ HOD

Aloe. [eoipaiy 8D - WO

AUQIG?} Sal BD - DIAS

UBLIOAA JO} SENBSUY LOD - AAID

_USIAL £0) SIMNSUT ED — WID

USSU SEIS ESUNUSD - NAD

AIIOBS SUBLUOAA BD FEAUAD - IMOD

BNWYSY] USD BD - 133

oF oF op Ss? or or Pr Pr oP zr
Lv oF oF Le SP ge os oP or or
or OF oF oF oP O'F oF OF oF or
or oP st ee oP O'F oF O'F OE oe
os as as ov oe os o's os os os
os gc OF oP os a9 os os or or
o¢ oz oz oz oz oz oz oz oz oz
os OF OF oF os os os os or or
os os os os OS os os os o's os
9 9 ge 9 9 ol oe ol oF or
oP oP os oP or ov oF or
ge ge St os se os o's oF oe Ge
$9 gs oS 9 gs o's oS St oa oe
a2 og og o9 og o9 og o9 os os
o9 og og ‘Od a9 og os o9 og ce
oP or oF OF oP oF oF OP as o¢
ge ge rt os ge ve or or oo oz
sz2 92 o¢ o¢ GE oe ge ge Oe oe
oe ve o¢ Oz oz oe 0g 0 oe oe
os cP or ov oP PF vr ve oF or
eb eh sb eh oz os og oz oZ@ oz
Ps ¥S Ps Ss vs rs rs ¥r oF er
oP or or Oy op or os os os o¢
og 09 ag a9 a9 O39 og o9 a9 og
POL o'6 96 36 98 o3 38 s'6 os a6
Os og os os og og o9 a9 os os
29 29 a9 ag o9 o9 oo og og
ah oh 2b FOL aol o3 OL Olt ob
ee £2 oz oc Ve Or oe oe GZ SZ
ee ee ee ee fe o's os o's OE oe
os or or cP oF os os os os os
OL oe ob ob oF oF ob OL

WAIUAD a9 BD - 999

Woslid a5 eUjedied - Wo

eed
weyeq

(D/AR3}
snes
yubiidois

20Ad SA

$0A4 40

yobue
LOA

20990

L0-AON

20-0

20-das

HOWINYSUOS JOPUH] - BUUAA

2o-ny

2o49r

éo-une

zo-Aew

Lo-udy

Z0~FIA

20-934

UOSL BJEIS FEUBAY - JSV

SUORUEg sinseey anseay

1enjoy

PEOPJOAA [9A37 AVIIOBY - pueoquseg AseuueYyd
Page 42 of 55

Filed 03/14/08

SPEOPLOAA

PUWEYd/yIa] BHBIBAY 4505

UOSUd SRS OOSEAA - dS

UBWOAA JO} HOS 1215 ABIIEA - MASA

__ Lost Berg Aa/eA BUIIES - dSAS

UNANe UES = OS

QUBIOS ‘OSU aes BD - 10S

Jae UOFEAISSUO4 BLAS - 99S

aL esnqy aouessqns eluoed - 4IWS

QUSWEIORS ‘UosUd Sje}S BIWOIES - OVS

AMO Lo5 UBASUOG MY - Ord

USSU SEIS ASA WESeald ~ dSAd

vosud ayes Aeg WeaIed - dS8d

UCSL SJE}G Way YON - dSHN| -

UOSd a]E1g Heald aN - dSOW

W1 OS BAIS 2D - OVI

uosud B21 AalleA WAM - dSAM

UOSUf SEIS PCOMUOI - dSl

uosud 32}5 peseq UBIH - dSCH

wios}o3 = 10g

SPNASU] PEUORESOA 16d - IAC

UOSHg SIEIS ABPEA EIEMEYONYD - dSAD

Aynoes Gujurer|.u09 - 419

Jqqiad UORENIGeYaY BD - OHO

UBIONSD “SUOSid APIS EO - HOD

Alpoey [Eslpew BD - SWS

Aug[os suey] 25 - OWS

USUOAA JO} SxNQHSU] OD - AAID

USA Jo) S3nyASu] BD - WID

Uosid @}BS EPuRUaS - NSD

AMIDST SUBUOAA BD QUES - JAK
: BINYSU] OD BD - 199

Case 2:90-cv-00520-KJM-SCR Document 2725-3

i ra 3s 3 9 £9 29 zo £9 c'9
ce ge ge Se oe oe of oe oe o¢
og 03 o6 of og o6 a6 v6 os OG
ag og og a3 o9 o9 og o9 as os
28 os o6 a6 o'6 ool o6 oo. ool ool
#6 o6 ool ool o6 v6 oe v6 oe og
Ge of oe OF o¢ ge OE 2 og oe
oo og og os o9 og os os os os

ooL OL Ol ob O'LL ool ool OoL O01 ool
oe og og a8 39 oe OL OL. os o’9
og es OL ep o6 6 oo og
oP oF oP OF or oF os os oF oF
oo v6 og OL Ob ool oul ool Ozh oél
SEL s6 6 s6 s9 se ot oe oOL ool
og os OF or o's OP? or OF os os
og og og a9 09 os os os os o9
ee oe og GE OF oe op av fe ge
Ke Le Ve oe oc os os oe ve os
a9 a9 o9 or OF OF OF or or oF
og as os os L¢ oP os es os os
ve _ GE oe GE o2¢ oe az oz ve og
os oe o8 oe ol OL on OL oz OL
87 gr oF er or os os os oe os
Oe oe ol re os os os 08 oe oe
vol 86 fol oor Ol OLE ole SOL Ogi g2b
og oe aL os oo og os os os os
os os oP oF oF OP or OP oF
£SL ysl SL Sel Ooze ole SOL SSk ssh
O'y or ge es os og oy or OF OF
COL Obl CEL oll OLb oot ole oo) ob OL
06 o8 08 oz vs o6 o6 o6 oe og
oe OE oe ve oz ve oe oe

JB}UBQ OD BO - 999

UOSUd AES EMEMHED - TWO

(SiAfa}
e
teen Snqe3S
yyGydo}y5

20A4 SA |

SOA 40
yabe_
4044

SE AN nT ae EE EEN ere

£0-39q

LQ-AON

£6P0

Lo-das

MOQIMASUGS ISPUy] - SEU AA

2o-5ny

zo-in¢

2o-unr

Zo-AeW

Zoudy

20-FEA

20-494

sUOmUag anseayy ainseay

CUS MOIEA!

PEOPUOAA [Aa Ayjige4 - preoquseq AOBUEYd
Page 43 of 55

Filed 03/14/08

Case 2:90-cv-00520-KJM-SCR Document 2725-3

PREOBLON,

zLb 922 S0z Le SEZ 97z |kbe OSz
PSL ez S21 osz sal Ost bel £8
Sez bbz 2Z 61z eez Bez
Ore Pee ocr 895 225 -
Sel e2e Lz zit sal ost eb eel
£92 pee sez ive 992 £52 Ze g0e
6SL g6b OLE /6L oz 6lz Sze vee
Pie 219 JEP cer ip Pee Par S6P
Sel $8 vob iSt Sal O6E 681 LéL
LPL Zé pik GLb SLL GLb 662 bbe
PEL Set SFE ELL 731 dik it Loz
zl $1 SoE os igh osz ObL 20L
sel veh Sib 66L Zlz S6L 82 ogz
iLL get g0z Pez lez é@b 19S bes
PSL ase Loz 0oz 961 bet Srl 851.
98 Zeb Ok ze $6 og LLb Zél
gz Sez alz él ZEzZ Gaz BLL 981
6EL Pre zzz eze zay ser ger Sz
ose Lez Sez hoz O61 €gh OSt soz 802 -
FOE 6st 2st ib orl Srl Srl
&al 9gz 6lz gle Fle gaz bre Siz
Zit €Sb ash 2b orl ech eel 95-
ble Sol rah OoL 691 Sol 991 ost £54
Lab 6zL el EPL seb 8zL rl 6e1
Lz eae zoe 922 bez abe 992 poz
‘OL StL 6OL 6aL 2b EEL 36. PLi
86 OFL POL Lib 92z 8rZ zSt 6S1
evi Sol scl SEL eo) Srl seb £64
ibe zeg bép 625 OLS Sar els Seb
Bal soz S6L £91 Pol Pl Et yeh
ace ose zse zie Lae zee bee 60
tz) er FEL zal $02 él ool S04
2sz ive Oo€ Ope 92y ele gas bbe
SA
wieg | (AAR) (SON So .
rea ends yohuey 20-590 | ZO-AON | 20-290 | Lo-das | zo-Bny | z0-0P | zo-une | 20-Aew) Zoudy | Zo7eW | Z0-de4 | 20-uer
WUBYGOS 1OA4
ee a Seca eae ee ORE SCHON S MORO .

uoranasuoS Japup] ~ SUA

UuddxH aBeisAy Y905

UOSWid SEIS GISEAA - dSAA

UBUIOAA JO) OSU SEIS ABIEA - MISA

wos, ajZg ASIIEA EUIIES - dSAS

UqUaNnt® UeSs - OS

OUBIOS ‘VOSUd SBS ED - IOS

JBUSH VOPEAISSUOD BUSBIS - 90S

Ji asngy eouEjsqns PILLOWeS - JIVS
CWUALIBIOBG ‘Losi a2IS BILOIIED - YS

Awoey OD UBAQUOg TH - Ory

LOSI SIEIS AaeA WESESL” - ISAd
OSU SHES ABA UBS - dSad

USSU S}E}S Way UCN - dSYN

UOSUd SEIS 48819 SIN - dSOW

WI Uosiid ales BD - 31

UOSLJ BIS ASIEA WEY - ISAM

WOSLe} SJEIS POOMUAI - JS]

uosUd aye}S pase UBIH - dSGH

ei ne wosjet - 104

SINIGSuUL FEUOESOA ened - IAC

wos, SIPS ASIEA BEMEYSNYD - SAD
Ayes Burnes 05 - 419

Jaques USReqIGqeYeY ED - HD
UBIODIOD "SUOSU S1EI$ BD - YOO
AUIIOBY [2OIPIIAI 2D - JIAND

Auo|Oy S,Usl BD - SIND

USUtoAA tO} aIN}HSU] OD - MID

UIA] JOY BINYYSUT ED - ID.

. WOSUd SJEIS BeUqUED - NID

ANSE SUBLIOAA BD IEALIAD - IMOO
SPAISU] OD ED - 190

Jaws9 109 BD - 999
osu B21 eNjedieD - TWO
USL SEIS [BUAAY - dS’

SUOHIUNEG ansesiy einseay

[enjoy

PEOPIOAA [AAT] AIR - prkoquseg AseuWeYY
Page 44 of 55

Filed 03/14/08

Case 2:90-cv-00520-KJM-SCR Document 2725-3

SPEOPUOAA

Bumoded Jood co} anp juaysisuosul suaquinu Bukyeys sayend 1s}
QO0ZILEZ I Lid Woy suogduosald ApaUOWW BAR = #xu SOOT,
“9002 “UBP WON s| pavodey EIEQ “900Z/SO0z JO} aIqR BAR eyep Buyeys feovteysiy ON.

a LK abeiaay Y9dD

UOSLd SEIS OOSEAA - GSMA

UBWOAA JO} LOSU BFEIS ABIIEA - MASA

Ucsig aeig Ase BUIES - dSAS

unUant) UES - HS

OURIOS “UOSLt SIE}S BO - 10S

JaUas) UOTPBAIaSUO7 BLAIS - 99S

Jl ashdy sourjsqns BIWolieD - tvs

BM CHSWEINES ‘LOS APS BIOMED - OVS

Alpes HO UeAUOG PH - Ore

uosug a}2}5 AePeA JUBSEALY - ISAd
USL STEWS ABQ UBTIad - dSad
Uoslid a]E1§ Way YON - dSMN

LOS SHAS Y8SJ3 SIN - dSSW

W1 Yosh S45 FO = OV]

uoslg a}eIS AalleA Way - dSAH

“OSU 3}2S PooMual] - JSI

UOstid FES vesaq YOIH ~ dSGH

Wwostod - 104

SINASU] PEUCIEDOA jened - 1A

uss B]eS ABA EPEMEXSNYS - JSAD

Ayyoes Buures) 09 - 415
Jajuad) UOREWEqeYaH BD - YO
UBIOOIC? 'SUOSUg SEIS ED - HOO

Auioed (eOIPS| ED = JID

AUOIO SUS] BF - SAD

UALUOAA JO} AINABSUY LOD - ANID

USI! Jo} eiransul ED - AD.

UOSH BIS BSUGUSD - NAO

AWIOBS S,UAOAA BS TERUED - IMD

aNyysy] LOD BQ - 199

Jaquag 09 #D - 999).

Beg
lag

(DiARa}
sms
WH dos

£0-99q

L0-AON

Uosid BES euyede5 - Wd

20°90 | 20-deg | 2o-fny

zo-in¢

UOHInUySUSs Japuyy - OPUAA

zo-unr

2o-Aen

Zo-idy

Z0-JEW

2o-q94

2o-urr

UOsUd ayE}S [BUAAY - dS’

] SUOHIUSG snseayy aInSEOW

PEOPIOAA [2497] AUIIORY - paeoqyseq Aseuueyg

Page 45 of 55

Filed 03/14/08

Case 2:90-cv-00520-KJM-SCR Document 2725-3

OF} SUI] | 20-990

LO-AON

£00

do-dag

SE=N) (PaiIE4 JON) [E101 Passed qwasied

%Le %6E %SE SHOE Le le
eu WIN ASA} UOSUd SJE} 058,
eyu WIN (MdSA} UEWOAA 10} LOS, a]e)S AayeAl
eju WIN {598) Jaquag uoeAlasuog Bais}
aH as o BIC ag eu WIN fos) unueNns ues
ek jon ago se Gas eu VIN {dSAS) Uosiid aye3g AaTTeA eules]
el VIN (aru) Aupoey 405 ueAoUuog FY
eu WIN (dSAd} UOSUd 87e)g AeyeA JueSEd|q
eu WIN (asad) uosug ajejs seg UEDNedy
ok toi i eu WIN (dSHN} UCSsiUg a}e]5 Wey WONT
ef WIN (dSOIN) UOSLd 8721S 49219 JIN
eueion By WIN (aSAy) UOSid 9783S AaIIEA Wayf
BH VIN {dSi) UOsUd S3235 PooMUOJ
jae Oe old: eu Dates WIN {dSH) vosug ay235 Haseq YBIH]
eu WIN (704) rae
eu WIN (Aq) 27nyRSU] jeUOHeSD04 Jone
BOON Biter eyu WIN Tro) Anes Burures 054
eu WIN TANI} Uso AA 10} 8]NANSU] 11054
oars EB OOlas raid eju VIN (dSAD) UOSIId SJE}S ASIEA ELEMEYITNIYS
ut : Pfu WIN (M99) Aloe s,uawi0,y 2&5 [BUAD
oe igoicfer eawolqorciaies saueaclk: eu aieinerce| WIN (NBD) UOSUd oJe}5 Bfauguany
eyu VIN (1¥9} uosug ajeys emedyesy
UeIAOk reidoNe c eat PEO SHE eu VIN (4LVS) JE esngy eouejsqns Bwoyeay
Bu VIN {YOD) UB10I105 ‘SUAS, 3}2]5 eof
eu WIN (10S) our{og ‘uoslid a}23g EDF
ep WIN (oV§) oueweIses ‘UOsHY 93275 BO]
eu WIN (OW?) V1 Uosid 672] eof
eu WIN (HD) 49]U9D UOREHIqeysy eof
eu VIN (OID) Aucjog S,us eS]
Bu VIN (IND) Aquos jesIpaly eof
eu WIN (Wid) us 40} aynyysuy eof
eu WIN {199} 23nj HSU] 4105 eof
ej WIN (999) Ja}U9D 10D BOF
eju WIN

20-6 zoanr | Zo-unr 20-ACW Zoudy Zo-3eW {20-44 20-Uer

(dSv) UosUd e215 JELOA

uoQeso7]

LOOZAD PUD uonoedsul Aseuueyg YOdD
Page 46 of 55

Filed 03/14/08

Case 2:90-cv-00520-KJM-SCR Document 2725-3

%6

%9 %9 ME %E %E

ej
eM

Pi

eu

eu

By

eu

an

{€c=N) (Palle JON) [E}0.L pesseg juaaIed

en VIN dSM) UOSLd S}2}g OOBAA
ep VN {Ad SA) UeuIagA 10} UOSIIg aye}g AaTEA
VIN (999) 19}085 VORRAIOSUC BUGIS
VIN (OS) uQUanD ues)
Bll VIN {dSAS) uosud ayeyg Aayea eules
eu WIN faru) Ausey 2105 ueaouog ral
eu VIN (dSAd} Uosug o723g Aa]EA qeSeeld]
ey VIN (d$aa)) uesug ayers feg vested]
Bj WIN (dSMN} osu aye} Wey YVONT]
P/U VIN (dSOIN) UOSig a}21g Ya0ID ain]
ey WIN (dSAM) HOSE a1EIg ABTA way}
WIN (dS) Uosig 3}235 poomuo|]
WIN {dSGH} UOSHd 3y21S Yeseg YBIH
eu WIN (os) wosjo4
eyu YIN (Aq) 21NIASU] [EUORESO,A jenag
eu WIN Gis) Apes Gules 05)
eu WIN (AID) Uawo,g 20} 8yNQHSH| 103}
VIN (dSAD) US a7FIg ASIEA EEMEXONYD|
eA WIN (499) Alles S,UEWIOAA BD [EQUODE
VIN (N35) Uosid a7e1g BjouNUEDf
al WIN Ov9) uosud aye3g EINECIED]
By WIN [aL VS} Jl esnqy sourjsqng BUCH e5]
ep VIN (O05) ueI00105 “suosidg SEIS eo]
Bu YIN {10S) ouejos ‘uosig aye7s BO]
Bu WIN {O¥S) OWeUIeIIeS ‘UOSIId B}2}S ED]
yu WIN fow7) V1 uositd aye}5 eal
By VIN (O85) Jajuag UoneNqeyoy eo}
Bu WIN (Nd) Augjo5 suey 25]
WIN (4WO} Alfi9e4 fesipey eo]
Bu WIN (WID) Way) 10) a3ngBSsU] eo}
Bu WIN (199) aynjysuj 1105 e5]
VIN (999) 4a}UaD 05 BD]
eu WIN {dS} USL SJB} [EUSA

Case 2:90-cv-00520-KJM-SCR Document 2725-3 Filed 03/14/08 Page 47 of 55
Lo ‘SORTEMOD Lard put og ALA [ROO STU, PS[ESUT S1 UetprEns se pereousiados s20u7 auloosq JOyMOU! pre yen on Aqy ‘eveyd mi suo Tonene dey
6S aGhreqo papoatituooal £0/21/6  -MON
oO anIBOR L001 Sholnaid
<t OIART Ed SuIquO Sard pue
aoreqdaics Aree; Souopraou
‘senno1g pur guppenioyssppayss 74
“Une HEM pur sarfojoporpew Hstiquisa

aSteyS papusuMossl {H/,.1/6 AABN

aTIPSe {ovo Sholvalg

‘suneyed Sursuadsip pur
Surquosoid jo yyaIsIeA0 Lapd Saas
Jopmorpe cy samseomyusmraydimy gg
"PUB aaH MMIC Tagg IIMS stp
“Papsad sb “aN QSHOSEs ple SSIATY

ToReurldxg

SSUES papwIUTMtOdoZ A0/L1/6 NON

SOTPOOn {O/0T/e SMOG

‘souEuopiad

sfeeysny Aon] mexdord ssasse AyTentryuo3
‘eepaew SIURIOW 0} paudisep sassasaid poy syodss ov

' A UNey REM SMMOyUOM paziprepTers Ys qesy

Tonene dbz

SaSUBtD PepUsUTMCIa sH/LL6 MBN

SatpPUrD ZOOL) SholAald

“mre@oad sastarss Comma op
Jo somemuojiad amp stenyeas GL posn py
SOINOUT asteMLoped Ay USTIqEISE

“BAIOMIOD Ld apya-ayeys mau ysnonp pesoidde puz

JM-S¢

vonpmpdey

aBaaqp papmanMaessl £O/L1/6 = ON

SUPOR LOL SHOWS

‘sampaoord pum ssipyod Anttueygd

opmiemiaisis meme pur apn | FV

eBunq> papUsMMoIal 0/16 MeN

STIPOR AOL SNOMal

saalpalqg demproy surysyduressy 10} pls) SULyoul], paw suypUly, A0xey\

Jes
Peotpeus yeas o} ary aagay zy
WGI J MHEy aw poe uuosiad saotzas Asveuegd ye
© ay ALoTpne Jo Sau ENP YSTGEIST
N aSneqS PIpUBUMCSS £O/21/6 ABN
oO SERIE 20/0 SMOIAad
“AUOWNE TAUISoIO Pua
boda wen rapt ue z8pnq ‘UORENSTITUIpe somAles LY
. Aoemueyd penne e ystqessy
OQ
O) @8pcu WIANIIE JO
Aya; Aaing wie BIO 34} 0} Oday srerdoag
ze | ts | oc | ez | sz | az | sz [sz [oe [ez [zz og | ot | a | 2t [ot [ se [ oe f ce f ze or rpfelz]e
vietetultv[wlsatrfajpsu |] 6 vie[e[lw[vw[wfsaterf[a o vfi[wlater
OLOZ 600Z
malay renury podey ssabold Ary Bupsuoliiis] aydwtog bopRuewsjdun ay mm Avy uses I
: UOISIAS! YEIP 26201

sannogge woomuo[dunt pure doponag

Shs Modes St | St | Fe f te | ze | be | of | Ge | az | zz | se | se] pe | ce | ce | ee | oe J] oe | Se | 2b | SL | SL] Ph | &b | Zh] bf on | 6 8 Z 3 s F t z L
a a N 6 § ¥ t r Ww Wo) oW d c qa N Qa s ¥v t r Ww |¥ Wd d ft a N Go s ¥v ft f Wl Vv WwW a t
(upland OLOoe : 6007 R002 2002
{Jum
yaGse| 32342 LON TAA
yoGreL 6unjseW JON wojncy [enuuy I | poday ssxbord Ayano Bujobug |] ayelduleg uopEwewe|duy fyanoy vonewueweldu i Aunoy uiboa

yebue, Sunson BEE

saalpalqg dempeoy sorqsydurossy 10j pLyy SUpPell pue IUPUI], 10xeyA]

UGISIAG PEIP JOS" OL

lO aZaegp pepusuMmicsal ss 1/6 ASH
Ww aTHED Lo/oL/r StiolAald
— "UOTSE
oe Arenydiosip paz ‘cogronpe ‘Sum
i) VT 'wosined askordns Fuppen pue Bmmvansop = FT
UOSED 431g
Jo sttzattt aaqoeyys dopeasqy
“AAI Sosa we aq Ou pMogs sy, “Qaydwos swenodutes oeg! moqeariay
2) _ sueqp pepusannosad 10/1/86 MEN
OBESE RISES Bet RG Re SSE eu en bets ore Peet por seco asa piaie Parise, SUED ZO/OT/y SHOWaId
‘seoAojdines Zaystxa 10j pspoou se
ey es poe
PIeRySIy ee .
7 uosined sounmiopid Summa panes 2"q
‘USS ¥SIg apliod pin sesAoides Ausra por
t+ : aimgs Jo ALcumBANT Jes TPIS aye[aMOD
x “peaottal Sem Z] TAMOU ye ayenbs woysydares ayy, JETUES ay oyAnany Sms aq pmoys si] wopeneydxg
asTEYS papuauIMmOaL {0/21/ MON
— ‘heey eaoidina”y aUTPUIG 20/0) ShoWald
TH
a fPEYSI "Faunosied Anstiar soejdai 0) popeou .
ea ‘uosinetd $¢ stoAo[dina MoU TTEQ pus SITET ta
Bue, ‘UoseD Wag
TEgOId PMO Fp NOTIMONP INUNTOS ppiomn pie ApLAtoe FuIoFU0 ue st sAqIe(gDH, dopeurdy
~ a8ueqo papusnimiocal {G/21/6 Man
LO AUS Lo/ol/e SOAR
| (poy Auer past
Poesineg eu, ST UIs} paysesuos anes 182q eT g"4}
@wseqod yore Jery amsus 03 ss9901d wowTs|auny
= noneunyaxy
® suey papmenmoca: 20/1/46 = MON
PESe epee SUISUN LO/Di/P SROIADId
—UOSned
ie, ‘uaseg ‘aSeymuys Aoweact
id) ‘Paejod JO;TOOM 03 Ssa901d dojasagy za
seis URA;
aSuEUp papusWIOIal £O/L1/6 MeN
AUPE LOL SHolAalY
—Biresreg
(ede, ‘uosea ‘souRT dines jyEniOS amsUa
OF ‘muetioa 93 (opuan) epessjoye wormay, FO
Hott PASeIS UEAY
= : aBuey pepusmMmogal LO/L1/6 MeN
Ve SEM LO/Ol/r SHO
Sama BREW “sseaoid
teers mit Hpne wounyysin a[qeasopy pues
bf yoses x10 sapoage Mietua[dut pue dojenacy
OQ u aduEp popuRMTMmOIal LO/LT/6 . MON
a Hee STIPUD LO/GLe SHOIABIe
Gael ae ‘syesepeadiquomees Seul[apmsy
4 na om THSUBTEUATA UOUCSIPA SEES
“Slegoy SlvEs) -paweiaesised ajqrasiagia pur
Gapno[s aey

wopoui deg

ny
Jo.
we SBOE PepUsUMTOIa! LOL AKON
v STIPU ZOOL SNolAaled
S
Uygy ens Aon] ‘Teneredo Areummegd YD amp Jo
‘uosineg PUE) yoameSeurm Posy poe ‘jenoneieds .
hy SLUELSM seommp aaqmez aso = F4
Od 49TH Sunrodar prowatdan pur doyanag
OL 01.99 [1 [E08 Oup “spre-opes auemajos DALIT 31B JO [dum pie ‘¢'3 Jo TORapSp om tals Burdaay Uy wonEDEyaxy
adueyp papusummooal A0/LL/6 = AN
CO SUIPY Lo/el/r Shoat
O Ty nEpENH}
sy PEO Yr Aseumegd aun mom 4
— © oO, UOWNU SUT yes WORISUELL
G [dim seas OY Ueipungy Jo wORNTOS ray - maaysds Serperado Aoeumyd Jo yao G pur Ts14 Jo WOWENEAA o} Slay voneuedea
ae moe.
Ss £4 RPO SEEYS POPUSUMODSl AO/LLIG = MON
o noe ceelee a sTIPIE LC/OL/h SNOWaId
"= UOSE}
ables uyey ae NOLLVAVTYAR WISIA 9 Siaey
fLesined EUE,, “£4 ALATA TWasds Sosmdsp = gy
=} Peo Fan Anemuredd WE-s-Jo-sizis BF aMS01g
oO ‘Woreeuta[dum [Ing renosd Tm swogep jag] AraEy do soto pur SyyIA 203 [oA3] Qusey atp ye Uoneqemecm pepous pus AMIsey [Ly Tenues apnyauz saagselgo qng) opened
Cl aguegs papusInmTosal /O/LT/6 MON
~ SUSUR LO/OL/e SMOIAaIg
+ SHpNE
Gig juosines tH pagumapT suxs]qaid z2an109 04
Gir uoses sucperda Joss] Comtansty SuysMa LF]
4AG's HOM NeW Tp a1 suoperado pazipaepuns
= quemadun ‘nonezyenco oy Jog
a DISER “IWSISIAA Jo saa] [Te ayayduoo 07 paztp pte UEIprend bo aq isn wopemepey
2 afamyp papusmmiesal ¢6/26 3h
MI ee S eB eS SES se Sp me Peo Spe SUIPSWD {O/OL/P SHOAL
THaSAS JUSMtamnaaid
PIEIOd , . . | Aqddns peztpennas 2 30 wsmdopasp
WARE woes ued : qGnom Suseypmd Semmeyd «= FS
O SzIpUEpURNS ple SUEPTTOSCOD
WY) ‘Doqaydmos aaqse{qo 07 Abpap UT Jfser TIM DonpIMsUa[diIt Ips TwaIMsuoo MOREZ prEpURs sssoard Joy pseu PUR AOGep [As] ATIORI “COUR TEISU] UeIprend pur WloweN IT Yevonp poyst{dorcsoy} Togemydey
XY aURIUM LO/01/P SNoWa”
=< “ARD2J tee Te pesss7e
Cpsenea Apsea aq ura evep pur “Seniodaz
. “STEM OS pestq=qes JEU} ainsi Z4a
i) webog AILS 0} satsemuegd [ye noqsnery sansst
: Apaposuune anjes pus owpt
aBmeqp papusurmeca: {6/2 1/6 MON
eMPUR A(/OUP SnolAadd
"TaISAS
(iSeyow fon A>eueyd Zonsrea tus sagtqedes .
‘Mrqoy ouepew , Sunoymom pre Suyiodas =}
ABIEOd 3294 \ posordun inoma[dnn) pu dojanac]
snes woydeys | gz | st | Pe | ee | Ze | be | oe | 62 | 82 | gz | az | sz | oe fez | tz | tz | oz | St | at | Lt | ob | Sk | Sh] Sh Zh] AE] oF] 6 |e] 2 | 8] sp eh] ee]
s{[vyi[rej[rj{[wi[v[wlajrjatEn{[o{[sjwrfiri[r[w{[vjwftatr{a[n]{o]}]s]|viri ri wi vi w] aie
OLoz 600z 8002 200z

MAIASY renuuy poday ssalbo1d

seanelqQ deupvroy surqsqdurosoy 10} PLisy SUDPIBAL, pue aurjaMny, Loxey]

UOISIAGA YEIP 20S OL

Gewipecy aay1o JO LOL [GUE SMO} LOF MONE IPSIIe JO $3901] wonenEyhey
| | [ aarp Papustaliovel SHA T/6 MOR,
GOEL ShiE saydaI03| sUPUH LO/0T/r SHOWA
: “Apo Surensepeso
Kaeuuor uel wedi} Lop UpHE PeEEMpaD =—-g"H)
ae Sursn apne you syaydare5
m Ts[GINT SMOTOF COQEHAISOr Jo ssas017| Toyeneydg
oO | | [| Jf agumqp pepuoumNa. {O//1/6 MON
05 SUEUR LO/01yy SMO
CO “Ums} ap jo Slaquiant
Geauyor ual 09 sanTiqisuodsar jwaurssasse r
Geanaia okey Sumudisse pur sprepmeys ay 3
4 Scrdyouspr pia ssaurpess e dopaaacy
oO ‘saagoo (qo deuiproy Jeq}o 30 UOT [aur] SMOTTOF DoBeUpsIOVE JO ssI9G1d] opened
ve aduerp pspueurmora: £0/21/6 MON
a SUIPUM rO/OT Shelvedd
iL “pamorjoy 29 04 spiepuris
bssuyor uua|5 ROREZTESIO SUPA ap .
JayNO1S Oey auMMINEp pur uence anemd = 1S
0) INATAITENNOS WONT Ysyqeisa
PUE P Dopene du
SSUEIS PepusUMMaa /O/i1/S MOH
SUTPUIB ZO/gT/ SNolatd
Subpay
S apoareg pur “WYN sansa
Uos! . ‘
Sn ee Anbe Japlo wertséqd “ywouresecew s4
aS EHI6, yong Ajddns jezq090 se qons saropomyea}
wi pasttod *?! AUerOMNG ORIAt We|sAs JWauladeceu
> wonenuosm Aseuueyd ayersayoy
oO uoqpor deg
Ba adel pepuemmmtos -0/71/6 MON
snowed
Regie RIP | USS
2 Wey HE aa
O re aSinnp on aGunyo pepusmMNOe LO/L1/6 MON
uw PTR SES PS sO eeTeso/e ako qamag, SMTPOID LO/0/F SNOIWSId
= -Aoroueyd
DO paztenwes os 03 auM[oA Jo
Moseg Ig ogisney ety pur Aouaisgye sxcudan
o1 sordopourse) nau Zo WoUdope a1p ve
po yay] Or donne Yoee we suzaned
Sages snotnand asenpeaaayy
eq AQ POANOTS UISq SEY OPE TIM SSaBaLZ ‘SUT|SUID IUCU SF Syy YETI O} posueyp sem, satioalgo ayy “WweaMEs stp Jo pus aga Aq parsydutos 94 0} ImoTuo $1 Woussssse Tore woqewedcy

aduerp paptammuogal sO/2 1/6 AKON
SPUD LO/OT/P SNOW

"Sseyand
Srup fe uo Bupud poner gq = gD
lope Suzsarqae 30 Amqisesy syenpeag,
ge | se | pe | ce | ze | ve | oc | sz | ez | ze | sz | se | pz | ee | ee] be] oc | ob | ae | ce | ob |] oe] ee | ce] ef ee for] of ep ee dt 8 lc Sh] deh Pd | hd] cv! he ek rai SOC RnDEHau EE
a{njofs[v[rftrtajrlalsaflerlaln]jofls[¥[r][r[alyvy[wlalrjaltnfjojls|[ vi efrlalyvi[wls{e
oLoz 6007 8002 2002
yadues j20u LON ILM
yeGre, Buneay yon

yabuey Buysoy Rees

Malay enue podey ssulbold amd Awnoy Guebug Ess] aya}eg, voneuetwe din ary vonewanieduy Fee AWANDY uldiag Ha

saalpol[qg deulpeoy SuIysTdmosy 10j pul SUDPe1ly pure su], AOxe]A

UOISIAa YEIP JOS Ob
Page 52 of 55

Filed 03/14/08

aSueyp aaperps coy peau any Surésquept pre spraunystdanoose 1g Suuaum>op 107 pephpsw si apeyss podar ssaxgoid pasodord y (7)
(91D aty 0} ALAS" Jo VORISUED s1y SuIssezppr se [JoM. Se ‘sansst WOQEPaMadu ZuLaday Aue Juissarppe apnPul APM santaAoe Zurcsuy (¢)
AGLANSE payeyar Jo uoTs_duos ayy uodn yuapuadap premio} aprs Aeur sane TYJO pue WMOYs UeIy JeTpies uVsaq Av senTAQIE BUIOS (Z)
taurus Afeury F ut passarppe Futeq sensst CroqepnZax pure Surpumny ‘speaoidde ayrembazard wodn yuaguquoes are saurexysurg ayy (1)

4CV-00620-KJM-SCR Document 2725-3

vuopdumssy aura,
[GOT SMOTTOY TGR perce Jo ssacorg| uogeundxy
a3ueLtp papusumumosal /o//7/6 MON
[pce ES SOM T sMaOS aueeE LO/OL/P Snot
“ampoqps
Fewer wus : peuyep @ Do smORAINSUT Fe OF .
JOHMOLS Shey stipne puedxg “SMOUNNSUI 3JOU 10 ro
be SU0 Ie IIpIe LoNEIDEOE Joy Addy
sas wibyders | se | se | oe | ce | ze | te | oe | oe | ec | cz | oz | se | ee | ee | ex | iz |orter|s|a|o|st/erler|2|mlol|e|le|lz{/s|strlte)|z2+ kes Bosc
oC aqijn{[o|l[s{[v[r][_r{[wi]vyJ[wtatrfalnijolstvi[r{[rlwlv{t[wtalrflal~n{jols{[wvi[rlelwtv i awflale
(_yordweys oLez 600z : 8002 L002
jauMO,
yoBm] yes LON TIAA

yabrey GuNaeW IONE H] MaIAsY enucy vodey ssoubold RR Auianoy Bulobug apidwog veRE awed Apanoy vonewewsduy Ayanrg u6ea
78ie, Gunso Re

UOFISIAGI HEAP 20°C" OL

saalos[qg deuproy surgqsydmoessy 10] pLiy Sues], pur suyeuny 10xeyy
Case 2:90-cv-00520-KJM-SC Baum ce baAcanb aici" Filed 03/14/08 Page 53 of 55

Proposed Roadmap Objective Changes

October 2007

Introduction:
In an effort to consolidate agreed upon changes in objective
year of the Roadmap project and to align with the CPR Pk
changes to the Roadmap objectives a are provided. A

occurring in the first

ie.

“Action (POA),
of the CPR POA and

Recommended adjustment to the he Roadmap ti ‘presented if Appendix
C draft version 10.03.07 for consideration. . ‘

Completed Objectives: .
Objectives A.1, A.2 B.1, B.4, C.1, C.3, mplef or will be completed
by the end of the calen

Objective to be Dei ,

Objective F3 and all suBsobje should é'deleted. This objective refers to the
evaluation ofe\ oh ft of a state-of-the-art pharmacy
operati Tits t Maxor would provide Guardian Rx
Careg ‘ Kas"an interim solution for pharmacy operating
softwa C Hject would be discontinued.

Objectives ¢ Modifications:

Through early dis ns with the CPR office it was determined that the
concept of centralization with implementation of Guardian were important to
prioritize in the Roadmap timeline. Appendix C has been modified to meet that
demand and identify the realistic implementation schedule for both of these
major projects. Other timeline changes were made to align with the CPR POA or
_as.a result of barriers to change. Objectives are followed by the original timeline,
the proposed new timeline and an explanation for the recommended changes.

“

Case 2:90-cv-00520-KJM-SCR Document 2725-3 Filed 03/14/08 Page 54 of 55

Objective Wording Changes:

Objective B.3 — Develop and implement effective and enforceable peer-reviewed
treatment protocols. The wording use of treatment protocols and peer-reviewed created
conflict in the existent professional chain of command and operational aspects of CDCR
organizational structure that were not intended.

Recommended Change: Develop and implement effective and enforceable
Disease Management Medication Guidelines,

(Note: Sub objectives are not listed on the timeline)

Sub Objective D.1.2 - Hire employees to fill vacant
(Pharmacist II) positions. .

Sub Objective D.1.4 - Hire employees to filla

CDCR human resources, facility level managéme Cl ate
recruiting and to participate in the interview and loft prot -
Recommended Change: »
Sub objective D.1.2 - Actively coll:
employees to fill vacant pharmacy bC |
Sub Objective D.1.4 - Actively collabo spp acilitate efforts to hire
employees to fill all oo

selection o e0iat ing system (and evaluation of Vista A) in

objectivgF.3. Many‘ag} NEES objectives would have been operationalized by any
company lind purchased with Maxor oversight. However,
Maxor roduct- Guardian Rx Carepoint- at no licensing cost
to the CPR an to implement the product. All aspects of implementation
now reside wit

Recommended ¢ Transition each institution to a uniform interim
pharmacy information management system. (Guardian Rx). A contract
amendment will be offered to accommodate the necessary resources for full
implementation of a pharmacy operating system throughout CDCR.

Case 2:90-cv-00520-KJM-SCR Document 2725-3 Filed 03/14/08 Page 55 of 55

Objective Clarification:

Sub Objective F.6.2 - Develop a physician order entry system that maintains and
communicates formulary information to providers to enable them to choose the
most clinically-effective therapies, while ensuring that cost control initiatives are
maximized. This objective overlaps with the CPR plan for implementation of an
electronic medical record and may require further clarification of design and Maxor’s
role,

Barriers Contributing to Timeline Delays .

The initial need to establish a central, state-wide rev. d approval process for

implementation of the interim pha
Coupled with inmate overcrowding}:
formal management training and expé
implementation of pr
anticipated, resulti

further complica:

acility level managers,
nificantly more oversight than
Indeed, this has been

As Maxoranig, lal st negotiations for the procurement of
medicgtfins to obtain éd pricing for CDCR, navigating the CDCR and

allowed CDCR to*
the CDCR. However, the original Roadmap Objectives included oversight of a
transition to new software, but did not include staffing to complete the
implementation and training. These activities would normally be supported by a
vendor providing the software as part of the purchase or lease costs. Maxor has
worked with the CPR office to remedy this barrier by agreeing to develop
additional implementation teams. In addition to Guardian implementation,
these teams will address the continuing process and operational oversight needs
identified at the CDCR sites.

